CHEATWOOD DECLARATION - EXHIBIT 1
JOEL CHEATWOOD                                                                                  March 24, 2016
ALHARBI vs. BECK                                                                                           1-4
                                                  Page 1                                                 Page 3
 1          UNITED STATES DISTRICT COURT                    1   A P P E A R A N C E S:
                      FOR THE                               2
 2           DISTRICT OF MASSACHUSETTS                      3
                                                            4   NELSON, MULLINS, RILEY & SCARBOROUGH,
     -----------------------------------------x                 L.L.P.
 3   ABDUL RAHMAN ALHARBI,
                                                            5   Attorneys for Plaintiff
 4                     Plaintiff,
                                                                         One Post Off ice Square
 5                                Civil Action No:
                                                            6            30th Floor
     VS.                           14-11550-PBS                          Boston, Massachusetts 02109
                                                            7
     GLENN BECK; THE BLAZE, INC.; MERCURY RADIO                 BY:      PETER J. HALEY, ESQ.
 7   ARTS, INC., et al.,                                                 617.573.4714
                       Defendants.                                       peter.haley@nelsonmullins.com
     -----------------------------------------x             9
                                                           10
                                                           11   GREENBERG TRAURIG, L.L.P.
10
                                                                Attorneys for Defendants
11          DEPOSITION OF JOEL CHEATWOOD
                                                           12            54 State Street
12            Thursday, March 24, 2016
                                                                         6th Floor
13              New York, New York                                       Albany, New York 12207
                                                           13
14                                                         14   BY:      MICHAEL J. GRYGIEL, ESQ.
15                                                                       518.689.1406
16                                                         15            grygielm@gtlaw.com
17                                                         16
18                                                         17
19                                                         18
20                                                         19
                                                           20
21
                                                           21
22
                                                           22
23   Reported By:                                          23
24   LINDA J. GREENSTEIN                                   24
25   JOB NO. 326058                                        25

                                                  Page 2                                                 Page 4
 1                         March 24, 2016
                                                            1            JOEL CHEATWOOD,
 2                         10:07 A.M.
                                                            2 having been first duly sworn, was examined
                                                            3 and testified as follows:
 4
                                                            4          MR. GRYGIEL: Peter, on the
 5
                                                            5 record, the usual stipulations?
 6
                                                            6          MR. HALEY: Yes. If we could
 7              Deposition of JOEL CHEATWOOD,
                                                            7 agree to to waive the sealing and the
     taken by Plaintiff, pursuant to Subpoena,
                                                            8 filing of the deposition to the extent
 9   held at Nelson, Mullins, Riley &
                                                            9 that's required, and reserve all objections
10   Scarborough, L.L.P., 415 Madison Avenue,
                                                           10 except as to the form of the question until
11   New York, New York, before Linda J.
                                                           11 the time of trial, if that's acceptable to
12   Greenstein, a Certified Shorthand Reporter
                                                           12 counsel?
13   and Notary Public of the State of New York.
                                                           13           MR. GRYGIEL: Defendants agree.
14
                                                           14 EXAMINATION BY
15
                                                           15 MR. HALEY:
16                                                         16      Q. Can you state your name, please.
17
                                                           17      A. Joel Cheatwood.
18
                                                           18      Q. And what's your business
19
                                                           19 address, Mr. Cheatwood?
20
                                                           20      A. 381 Park Avenue South; New York,
21
                                                           21 New York.
22
                                                           22      Q. And how are you employed?
23
                                                           23      A. I am a partner at a company
24
                                                           24 called Red Sea Ventures.
25
                                                           25      Q. Are you represented by counsel


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JOEL CHEATWOOD                                                                        March 24, 2016
ALHARBI vs. BECK                                                                                     5-8
                                          Page 5                                                  Page 7
 1               JOEL CHEATWOOD                     1           JOEL CHEATWOOD
 2   here today?                                    2 more stop before that period of time in
 3       A. Yes.                                    3 Richmond, Virginia at what was WXEX-TV.
 4       Q. And who is that?                        4    Q. Did you start out as a reporter?
 5       A. Mike Grygiel.                           5    A. I started out in newspaper as a
 6       Q. Do you currently have any               6 reporter.
 7   financial relationship with the defendants     7    Q. And with respect to the radio
 8   in this action, TheBlaze or Mercury Radio      8 and television experience, did your
 9   Arts or Premiere Networks?                     9 position change over time? Did you remain
10        A. I do not -- can I make one            10 a reporter?
11    correction to that statement?                11         At some point, did you take on a
12        Q. Sure.                                 12 management role or take on a supervisory
13        A. Our company, Red Sea Ventures,        13 role?
14    does have a relationship with Premiere       14         MR. GRYGIEL: Object to the
15    Radio. We represent a couple of their        15 form.
16    clients.                                     16     A. I transitioned from a reporter
17        Q. What does Red Sea Ventures do?        17 into news management.
18        A. Red Sea Ventures is a company         18     Q. Did you have any formal training
19    that partners with celebrities and content   19 in those jobs or pursue any professional
20    creators to form new media companies.        20 certification with respect to your
21             In addition, we advise existing     21 experience in journalism?
22    media companies on operation, content        22         MR. GRYGIEL: Same objection.
23    creation, distribution.                      23     A. Through that period of time, I
24        Q. Where did you graduate from           24 attended a number of what I would call
25    college?                                     25 seminars through RTNDA, which is the Radio
                                          Page 6                                                   Page 8
 1           JOEL CHEATWOOD                                       JOEL CHEATWOOD
 2     A. I didn't graduate, but attended           2   and Television News Directors Association,
 3 California State University, Fresno.             3   and, of course, in college also studied
 4     Q. What was the last year you                4   journalism.
 5 attended there?                                  5       Q. Did you receive any awards or
 6     A. In terms of the actual year?              6   -- speaking now of your entire career in
 7     Q. Yes.                                      7   journalism -- did you receive any awards or
 8     A. That would have been 1979, I              8   recognition as a result of your
 9 believe.                                         9   professional achievements?
10      Q. And in 1989, you were employed          10       A. I have received a number of
11 by WSVN Miami; is that correct?                 11    regional Emmys for excellence, was
12      A. That's correct.                         12    nominated for a national Emmy.
13      Q. And between 1979 and 1989, were         13           I have received recognition
14 you employed in the radio, television or        14    through industry trades and the like over
15 media area?                                     15    the years.
16      A. Newspaper and television.               16        Q. When did you first meet Glenn
17      Q. And so between 1979 and 1989,           17    Beck?
18 where were you employed?                        18       A. I met Glenn Beck while I was
19      A. I was employed at one point by          19    employed at CNN as the director of
20 the Fresno Guide Newspaper while I was          20    development there, and I believe that would
21 still attending college. Then, from there,      21    have been in 2003, I believe.
22 I was employed by KFSN-TV in Fresno.            22        Q. And between 1989 and 2003, your
23          From there, KPIX-TV in San             23    employment was at WSVN in Miami, HOH in
24 Francisco; from there, back to Fresno at        24    Boston, WMAQ and WCBS here in New York; is
25 KMPH-TV; and then I believe there's one         25    that correct?


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JOEL CHEATWOOD                                                                       March 24, 2016
ALHARBI vs. BECK                                                                               9-12
                                          Page 9                                                 Page 11
               JOEL CHEATWOOD                      1               JOEL CHEATWOOD
2        A. Also KYW in Philadelphia.              2       A.     That's correct.
3        Q. When was that, just in relation         3     Q.      And when was that?
4    to -- from Miami, you went to Boston; is       4     A.      That would have been, let's say
5    that correct?                                  5 -- that    would have been, I believe, in 2010
6        A. From Miami, I went to Boston;           6 or'11.
7    from Boston to Chicago to WMAQ; from WMAQ      7     Q. And how long were you with
8    to KYW in Philadelphia; and then from KYW      8 TheBlaze?
9    to WCBS, and CBS in general.                   9     A. Four years.
10        Q. And then following WCBS, you          10      Q. What was your position there
11    were employed by CNN?                        11 when you started?
12        A. That's correct.                       12      A. When I started, I was the
13        Q. And what was you position there?      13 executive vice president of Mercury Radio
14        A. I was the executive director of       14 Arts.
15    development for CNN worldwide.               15       Q.     And at some point, did that
16        Q. What were your duties in              16 change?
17    connection with that position?               17    A. Yes. I became the president and
18        A. My duties included creating new       18 chief content officer at TheBlaze.
19    programming for the CNN networks, and also   19     Q. When did that change take place?
20    identifying new talent for the CNN           20    A. That change took place in 2012,
21    networks.                                    21 I believe.
22        Q. What was your relationship to         22    Q. And as president and chief
23    Mr. Beck at CNN? Did you provide             23 content officer, what were your duties?
24    supervision or did he report to you, or      24    A. I oversaw all content related to
25    what was the nature of your professional     25 TheBlaze on all platforms.
                                         Page 10                                                 Page 12
1          JOEL CHEATWOOD                          1            JOEL CHEATWOOD
2 relationship?                                    2      Q. When you say "oversaw all
 3         MR. GRYGIEL: Object to the              3 . content," what do you mean by that?
4 form.                                            4      A. Was ultimately responsible for
 5     A. I recruited Mr. Beck to CNN to           5 content placed on the television show, the
 6 do a television show for Headline News, one     6 web, theblaze.com, and the Internet
 7 of their networks, and oversaw the show         7 streaming radio network.
8 during my time there.                            8    Q. And in terms of being
 9     Q. And what did overseeing the show         9    responsible, what did that involve on a
10 involve?                                        10 day-to-day basis?
11     A. Basically, being the executive           11      A.     It involved overseeing the staff
12 in charge of production, so I had broad         12 that produced the television shows and the
13   oversight working with the executive          13 web content, the radio content on the
14   producer and the staff on show direction,     14 Internet streaming side, and hiring/firing.
15   budgeting. That sort of thing.                15    Q. What essentially was the
16       Q. Following CNN, what was your           16 business of TheBlaze at that time?
17   next employment?                              17        MR. GRYGIEL: Object to the
18      A. With the Fox News channel, where        18 form.
19   I was senior vice president of program        19    A. TheBlaze was a multi-platform
20   development.                                  20 news information network covering, again,
21       Q. And did you work with Mr. Beck         21 TV, Internet, radio and digital.
22   there as well?                                22    Q. With respect to Mr. Beck's role
23      A. I did.                                  23 at TheBlaze, he broadcast a radio program
24       Q. And at some point, you left Fox        24 and a television program; is that correct?
25   to go to TheBlaze; is that correct?           25    A. Yes, he did.


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JOEL CHEATWOOD                                                                     March 24, 2016
ALHARBI vs. BECK                                                                           13-16
                                          Page 13                                            Page 15
               JOEL CHEATWOOD                       1              JOEL CHEATWOOD
 2       Q. Were there separate people              2    summary judgement motion or some sort of
 3   involved in the production of the radio        3    pretrial motion or was there a settlement?
 4   program and the television program?            4            MR. GRYGIEL: Objection to form.
 5       A. Yes.                                    5            You may answer.
 6       Q. Did you have responsibility for         6        A. To the best of my recollection,
 7   both?                                          7    it was a summary judgement.
 8       A. I did not have responsibility            8       Q. Do you know what the name of the
 9   for radio. The radio program fell under         9   case was?
10    the Mercury Radio Arts umbrella.              10        A. I do not.
11        Q. And with respect to your               11        Q. Do you know who the plaintiff
12    employment at TheBlaze at the time, how       12    was?
13    many people were employed in the operation?   13        A. I do not.
14        A. When I arrived, it was 30. When        14        Q. Do you know what the
15    I departed, it was close to 200.              15    investigative report involved?
16        Q. Why did you depart?                    16        A. Again, to the best of my
17        A. I was terminated.                      17    recollection, it involved a towing service
18        Q. And what was the reason for your       18    in the City of Miami that was illegally
19    termination?                                  19    charging people and illegally towing the
20        A. Change in direction that Mr.           20    vehicles.
21    Beck outlined for the company. He wanted      21        Q. I represent the plaintiff, Abdul
22    to change the content focus.                  22    Alharbi, in this action.
23        Q. And was there any dispute              23            Do you have any knowledge about
24    arising out of your termination, any sort     24    Mr. Alharbi's involvement in funding the
25    of severance agreement, litigation or         25    attacks that took place at the Boston
                                          Page 14                                            Page 16
 1             JOEL CHEATWOOD                        1           JOEL CHEATWOOD
 2   anything else at TheBlaze at the time you       2 Marathon on April 15, 2013?
 3   departed?                                       3    A. I have knowledge based on what
4            MR. GRYGIEL: Object to the              4 has been provided to us by -- to TheBlaze
 5   form.                                           5 by their confidential sources.
6        A. There was a severance agreement.         6    Q. Other than that knowledge
7    No litigation.                                  7 provided to you by confidential sources, do
8        Q. Have you been deposed before?            8 you have any other personal knowledge?
9        A. Yes.                                     9    A. The only other personal
10        Q. How many times have you been           10 knowledge has come from the corroborating
11    deposed?                                      11 reporting that was done by experts in the
12       A. One other time.                         12 area that we used to, again, bring context
13        Q. When was that?                         13 and perspective to the confidential source
14       A. That would have been Miami,             14 material.
15    probably 1989.                                15     Q. And with respect to Mr.
16        Q. What was that matter?                  16 Alharbi's role, what is it that you believe
17       A. That was a suit brought against         17 Mr. Alharbi's role to be?
18    the station based on an investigative         18     A. I believe he was the funder and
19    report the station had done.                  19 perhaps organizer of the Boston bombing.
20        Q. What was the resolution of that        20     Q. What's the basis of your belief
21    suit?                                         21 that he funded the attacks?
22       A. The station won.                        22     A. It's based on the information
23        Q. Did that go to trial?                  23 provided to us by our confidential sources
24       A.   No..                                  24 who had a direct connection to the Boston
25       Q.   When you say "won," was it a          25 investigation.

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JOEL CHEATWOOD                                                                     March 24, 2016
ALHARBI vs. BECK                                                                           17-20
                                          Page 17                                             Page 19
1              JOEL CHEATWOOD                                      JOEL CHEATWOOD
2        Q. Who are those confidential               2   procedures at TheBlaze? Is this something
3    sources?                                        3   that was referred to or used?
4            MR. GRYGIEL: Objection.                 4           MR. GRYGIEL: Object to the
5        Q. Just for the record so that              5   form.
6    we're clear, Mr. Grygiel has objected, as       6       A. This was used by me in setting
7    he has in previous depositions, to the          7   the policy, as well as Associated Press
8    question calling for the identification of      8   basic guidelines.
9    the confidential sources.                       9       Q. And the document that was used
10            And if you could just affirm for      10    presumably would have been whatever the
11    me that you don't intend to respond to the    11    version was in 2013; is that correct?
12    question based on Mr. Grygiel's objection.    12        A. Correct.
13        A. Based on the First Amendment           13        Q. And other than this source, were
14    right and Mr. Grygiel's objection, I do not   14    there any other sources or documents that
15    intend to answer that question.               15    you relied upon in reporting in news
16        Q. Is TheBlaze or Mercury Radio           16    gathering in 2013?
17    Arts paying for your legal fees in this       17        A. No.
18    action?                                       18        Q. And with respect to your
19        A. Yes.                                   19    previous employment at CNN or WCBS or any
20        Q. I show you a copy of what's            20    of the other news outlets and stations at
21    previously been marked as Exhibit 55 in       21    which you were employed, were there written
22    this action -- actually, I'll show you        22    policies and procedures that related to
23    Exhibit 55.                                   23    news gathering and the reporting of
24            This is a document that was           24    information?
25    produced by the defendants with respect to    25        A. It varied depending on the
                                          Page 18                                             Page 20
1              JOEL CHEATWOOD                        1            JOEL CHEATWOOD
2    newsroom policies at TheBlaze in 2013.          2   organization.
3            The document is dated                   3      Q. What about at CNN?
4    December 2, 2015 in the bottom right-hand       4      A. There were written standards and
5    corner, and appears to be a printout from       5   practices.
6    an Internet source.                             6      Q. And was there a reason why there
7            Have you seen this document             7   were not written standards and practices at
8    before?                                         8   TheBlaze?
9        A. Yes, I have.                             9      A. The flow of information at
10        Q. And are you familiar with it?          10   TheBlaze funneled up through a very narrow
11        A. Yes, I am.                             11   output -- primarily me -- and I was able to
12        Q. What is it?                            12   really set standards and practices on a
13        A. This is a guideline produced by        13   daily basis.
14    the RTDNA -- actually, the Radio Television   14       Q. Is it fair to say then that you
15    Digital News Association -- that outlines     15   were the person who was responsible for
16    the proper use of confidential sources in     16    determining what would be published or
17    covering the news.                            17   broadcast or not?
18        Q. And during your tenure at              18           MR. GRYGIEL: Object to the
19    TheBlaze, did TheBlaze have its own set of    19   form.
20   written policies and procedures that           20       A. Primarily responsible,
21    related to the reporting of news and          21   ultimately responsible.
22    information?                                  22           Scott Baker, who runs
23        A. Not written, no.                       23   theblaze.com, oversaw that operation, but I
24        Q. How does this document,                24   was ultimately responsible.
25    Exhibit 55, relate to the policies and        25       Q. And what role did Mr. Beck play



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JOEL CHEATWOOD                                                                     March 24, 2016
ALHARBI vs. BECK                                                                           21-24
                                         Page 21                                             Page 23
 1           JOEL CHEATWOOD                        1               JOEL CHEATWOOD
 2   in that?                                      2    confidential sources, or how did you
 3       A. Certainly had input. Certainly         3    describe the confidential sources?
 4   gave his opinion in terms of news coverage    4             MR. GRYGIEL: Objection to the
 5   and stories and the like.                     5    extent that the question potentially calls
 6            Ultimately, we made the final        6    for identification of the confidential
 7   decisions.                                    7    sources, so consistent with Mr. Cheatwood's
 8       Q. With respect to Exhibit 55, are        8    previous objection based on the First
 9   the statements that are made there            9    Amendment and the Reporter's Privilege, you
10    statements and policies that you attempted 10      can answer that question, Joel, to the
11    to follow?                                  11     extent that it doesn't veer into
12        A. Very consistent with, yes.           12     identifying any of the confidential
13        Q. Directing your attention to page     13     sources.
14    2 of the exhibit, the top of the page there 14         A. We explained that our
15    says: "Do you understand your newsroom's 15        confidential sources had a direct
16    policy on confidentiality? Before you       16     connection to the ongoing investigation of
17    promise it to sources, consider a policy    17     the Boston bombing, and that they were high
18    that requires you to obtain the consent of  18     level and respectable organizations.
19    your news managers."                        19         Q. Did you say anything -- and
20            What was the policy of TheBlaze     20     speaking now as to what you said publicly
21    on the use of confidential sources?         21     -- did you say anything about why the
22        A. Had to have my consent.              22     sources could not be named?
23        Q. Other than your consent, was         23         A. I believe we indicated that it
24    there any other requirement?                24     would jeopardize their careers.
25        A. Other than following the             25         Q. Did you make any promises to
                                         Page 22                                             Page 24
 1            JOEL CHEATWOOD                        1              JOEL CHEATWOOD
 2   guidelines that we adhered to, no.             2   those sources in order to get the
 3      Q. When you say "following the              3   information?
 4   guidelines that we adhered to," what do you    4       A. The only promise made was to
 5   mean by that?                                  5   preserve their confidentiality.
 6      A. Referring to the basic guideline         6       Q. I'll show you what's previously
 7   provided here by the RTNDA.                    7   been marked as Exhibit 56, which is an
 8      Q. On page 1 of Exhibit 55, in the          8   e-mail message from Patrick Poole to
 9   middle of the page, which says under the       9   Virginia Grace and Joe Weasel.
10   heading "Fulfill All of the Following Four    10            Who is Patrick Poole?
11   Criteria and Then Consider Questions Listed   11        A. Patrick Poole is a noted expert
12    Below," it says:                             12    in terrorism and Middle East radicals.
13           "You and your news managers must      13        Q. Is he somebody that you viewed
14   be willing to publicly describe the source    14    as a credible source?
15   in as detailed a manner as anonymity          15        A. Yes.
16   permits, reveal to the public why the         16        Q. Did you view him as trustworthy?
17   source cannot be named, and what, if any,     17        A. Yes.
18   promises the news organization made in        18        Q. Who is Virginia Grace?
19   order to get the information."                19        A. At the time, she was a producer
20           With respect to the sources           20    on Glenn's television program.
21   involved, confidential sources involved in    21        Q. And how about Joe Weasel?
22   the reporting about the Boston Marathon,      22        A. Joe Weasel was an investigative
23   did you follow that policy?                   23    producer for TheBlaze.
24       A. Yes, we did.                           24        Q. Did Ms. Grace and Mr. Weasel
25       Q. And how would you describe the         25    report to you?

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JOEL CHEATWOOD                                                                March 24, 2016
ALHARBI vs. BECK                                                                      25-28
                                       Page 25                                         Page 27
 1              JOEL CHEATWOOD                  1             JOEL CHEATWOOD
 2       A. Yes.                                2       Q. And with respect to the Boston
 3       Q. And what was the relationship       3   Marathon, is that something that you did,
 4   between Mr. Poole and TheBlaze?            4   carefully studied the information?
 5       A. Used as a -- source used as an      5       A. Absolutely.
 6   interview subject on topics that he was    6       Q. I show you what's been marked as
 7   expert in for both television and radio.   7   Exhibit 59, which is another e-mail from
 8       Q. Did he receive any payment?         8   Mr. Poole to Mr. Weasel dated Tuesday,
 9       A. I believe that at one point in      9   April 16th at 4:23 a.m.
10    the relationship he was paid as a        10            Where did Mr. Poole reside, do
11    contributor to TheBlaze.                 11    you know?
12        Q. And what were the amounts of      12       A. I do not.
13    those payments?                          13       Q. Have you ever met Mr. Poole?
14        A. I don't know.                     14       A. Yes.
15        Q. You said "at one point in the     15       Q. And Mr. Poole's e-mail to Mr.
16    relationship."                           16    Weasel says: "Not for circulation. Here's
17            When was that? Do you know?      17    the guy they're looking at."
18        A. I don't recall the exact dates.   18            Do you know who Mr. Poole is
19            I know it was for a fairly short 19    referring to when he says "they're"?
20    period of time.                          20       A. I do not.
21        Q. Do you know if that was true at   21        Q. I show you a copy of what's
22    this time, in April of 2013?             22    previously been marked as Exhibit 60.
23        A. I don't believe it was.           23            Have you seen this document
24        Q. I show you what's been marked as 24     before?
25    Exhibit 57, which is another e-mail from 25       A. Yes, I have.
                                       Page 26                                         Page 28
 1            JOEL CHEATWOOD                      1            JOEL CHEATWOOD
 2 Mr. Poole.                                     2     Q. When did you first see it?
 3         In the third line of the e-mail,       3     A. I believe I saw this for the
 4 Mr. Poole says: "Having to take all of         4 first time on April 24th of 2013.
 5 this with a grain of salt and caution."        5     Q. Do you know where the document
 6         Do you know what he was                6 came from?
 7 referring to there?                            7     A. It came to me through Joe
 8     A. I was not included on this              8 Weasel.
 9 e-mail. I'm not clear on what he might         9     Q. Do you know where he got it?
10 have intended that to mean.                   10      A. I believe that it was provided
11      Q. This was on the day of the            11 him by a confidential source.
12 Marathon bombing.                             12      Q. Do you know what the document
13          In connection with your              13 is?
14 experience as a reporter involved in the      14      A. I do.
15 news industry, is it fair to say that         15      Q. What is it?
16 immediately following a large event,          16      A. This is a report generated by
17 there's oftentimes a large amount of          17 the Joint Terrorism Task Force regarding a
18 information which later proves to be          18 suspect and an event, the Boston bombing.
19 inaccurate or not entirely correct?           19      Q. On the lower right-hand side of
20          MR. GRYGIEL: Objection to the        20 the report on the first three pages of
21 form and also it calls for speculation.       21 Exhibit 60, it states: "This record has
22          You may answer.                      22 not yet been approved."
23     A. I think in any news event, there       23          Did that statement have any
24 is an initial flood of information that has   24 significance to you?
25 to be carefully studied and evaluated.        25      A. Yes, it did. In fact, we


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JOEL CHEATWOOD                                                                      March 24, 2016
ALHARBI vs. BECK                                                                            29-32
                                          Page 29                                             Page 31
 1           JOEL CHEATWOOD                         1              JOEL CHEATWOOD
 2 immediately, upon seeing this, reconnected       2    agency in existence, if not all of them.
 3 with our primary confidential source and         3        Q. Did any of them ever make any
 4 asked for an explanation.                        4    public response with respect to your
 5    Q. What was the explanation?                  5    inquiries?
 6    A. The explanation was this was an            6        A. There were public responses made
 7 organic  document that at some point during      7    at various times to us, yes.
 8 the course of the day would be                   8        Q. And what were those responses?
 9 authenticated in terms of the designation,        9       A. Typically, they were a variety
10 but that throughout the day, it was being        10    of answers that span the globe from, you
11 updated. This was very common.                   11    know: "Mis-ID'd" to "The person doesn't
12     Q. And did you ever see any version          12    exist" to "We made a mistake."
13 of this record that was authenticated or         13        Q. Did you ever publish any of
14 updated?                                         14    those responses?
15     A. Yes, I did.                               15        A. We reported them, yes.
16     Q. When did you see that?                    16            MR. GRYGIEL: Just to be clear,
17     A. On the same day.                          17    who's the "we" in that sentence: "We made
18     Q. What was that document that you           18    a mistake"?
19 saw?                                             19            THE WITNESS: The government.
20     A. That was, I believe, page 4 of            20        Q. When you say the government made
21 this series of documents.                        21    a mistake, what are you referring to?
22     Q. And so with respect to the                22       A. One of the responses was that
23 exhibit then, did page 4, with the Bates         23    they had identified Mr. Alharbi mistakenly.
24 stamp number of 47613, come to you after         24        Q. Did you not view that response
25 the first three pages?                           25    at credible or accurate?
                                          Page 30                                             Page 32
 1              JOEL CHEATWOOD                       1           JOEL CHEATWOOD
 2       A. They came at the same time.              2    A. We took every response that we
 3       Q. Is it your understanding then            3 received and took it back to our
 4   that page 4 represents a further iteration      4 confidential sources and checked against
 5   of the first three pages?                       5 the facts that they had access to.
 6            MR. GRYGIEL: Object to the             6    Q. How many sources were there,
 7   form. You may answer.                           7 when you say "confidential sources"?
 8       A. Yes. Again, we went back to our          8    A. There were a variety of sources.
 9   primary confidential source asking for an       9         I would say there were four
10    explanation, and he indicated that the        10 primary confidential sources.
11    removal of the previous designation, that     11     Q. Were those individuals?
12    the record had not been approved, indicated   12     A. Yes.
13    that it was an approved record.               13     Q. And were they employed by the
14        Q. Did you ever -- other than             14 government?
15    through your confidential source -- did you   15     A. Yes.
16    ever ask anybody from the government          16          MR. GRYGIEL: You can answer,
17    publicly, either the Joint Terrorism Task     17 subject to the qualification, implication
18    Force or the Department of Homeland           18 of privilege.
19    Security, the Department of Justice or        19 BY MR. HALEY:
20    anyone else about this document?              20     Q. Were they elected officials?
21            MR. GRYGIEL: Object to the            21     A. No, they were not.
22    form.                                         22     Q. Were they employed by the FBI?
23        A. Yes, we did.                           23 DIR        MR. GRYGIEL: I instruct you not
24            We had multiple sources ask           24 to answer that question based on the
25    virtually every federal law enforcement       25 Reporter's Privilege.

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JOEL CHEATWOOD                                                                    March 24, 2016
ALHARBI vs. BECK                                                                            33-36
                                          Page 33                                           Page 35
 1             JOEL CHEATWOOD                        1          JOEL CHEATWOOD
2        A. I'm not answering based on the           2 consultation with our attorney, and we also
3    advice of counsel.                              3 worked with all of the confidential sources
4        Q. At any time, did any of the              4 to ensure that we were not in violation.
5    confidential sources that you're referring      5     Q. And who was your attorney?
6    to disavow the information that you             6    A. I don't recall.
7    reported and tell you that Mr. Alharbi was      7     Q. Was your attorney someone
8    not involved in the Boston Marathon             8 representing TheBlaze?
9    attacks?                                        9    A. Yes.
10       A. No, they did not.                       10     Q. Was there a written opinion or
11       Q. Mr. Cheatwood, I show you a copy        11 e-mail or anything else confirming that the
12    of what's been marked as Exhibit 61.          12 document was not obtained illegally?
13            Have you seen this document           13     A. No. I talked to him on the
14    before?                                       14 phone.
15       A. Yes, I have.                            15     Q. The person that you talked to on
16       Q. And what is it?                         16 the phone, were they with a law firm in
17       A. This was a report generated as          17 Texas?
18    part of, as I understand it, the event file   18     A. No. It was based in New York, I
19    relating to Mr. Alharbi.                      19 believe.
20        Q. Was this a document that was           20     Q. Somebody that TheBlaze had used
21    obtained by TheBlaze?                         21 before?
22       A. Yes.                                    22     A. Yes.
23        Q. And how was it obtained?               23     Q. Were they paid for their
24       A. Obtained by Joe Weasel through a        24 services?
25    confidential source.                          25     A. Yes.
                                          Page 34                                           Page 36
 1             JOEL CHEATWOOD                        1            JOEL CHEATWOOD
2        Q. Did you understand it to be a            2     Q. Other than that phone call, did
3    nonpublic document?                             3 they provide other services in connection
4        A. I was unclear whether or not it          4 with the reporting of this story?
5    was a nonpublic document. I knew it was a       5     A. No.
6    law enforcement document.                       6     Q. And prior to the phone call, did
7        Q. Did you ever take any steps to           7 you provide them with copies of this
8    determine whether or not it was public?         8 document?
9        A. We took steps to ensure we had           9     A. No, we did not.
10    not gained it illegally.                      10      Q. Did you provide them with any
11        Q. Why were you concerned about           11  other information or documents relating to
12    whether you gained it illegally?              12  your inquiry about whether the information
13        A. We understood the sensitivity of       13  had been obtained illegally?
14    the information.                              14      A. A basic description of the
15        Q. What do you mean by that?              15  documents that we acquired.
16        A. We understood the grave nature         16      Q. Was that an oral description or
17    of the allegation made, and wanted to         17  written?
18    ensure that we did not violate any laws in    18      A. Oral.
19    securing the information.                     19      Q. Mr. Cheatwood, I show you what's
20        Q. And did you make that                  20  previously been marked as Exhibit 63 in
21    determination?                                21  this action, which is an e-mail between Mr.
22        A. We did.                                22  Weasel and somebody whose name has been
23        Q. How did you make the                   23  redacted, with the subject line: "Abdul
24    determination?                                24  Rahman Ali Alharbi."
25        A. As I recall, we had a                  25          Have you seen this document


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JOEL CHEATWOOD                                                                      March 24, 2016
ALHARBI vs. BECK                                                                            37-40
                                          Page 37                                             Page 39
 1            JOEL CHEATWOOD                    1                 JOEL CHEATWOOD
 2   before?                                    2        Glenn's radio and television.
 3       A. I have not.                         3           Q. Do you know why he's using
 4       Q. In the e-mail, the first e-mail     4                                 ?
 5   in the chain sent Tuesday, April 16th at   5           A. I do not.
 6   9:33 a.m., Mr. Weasel is asking about      6           Q. To your knowledge, did he have a
 7   "somebody who can track this guy."         7        Blaze e-mail address?
 8           Do you know who he's referring     8           A. Yes, he did.
 9   to there?                                  9           Q. Did Mr. Andros report to you?
10        A. I do not.                         10           A. Ultimately, yes.
11        Q. Mr. Cheatwood, I show you a copy 11            Q. Mr. Cheatwood, I show you an
12    of what's previously been marked as      12        e-mail that's previously been marked as
13    Exhibit 64 in this action.               13        Exhibit 66 in this action --
14           This is an e-mail from somebody   14                MR. GRYGIEL: 65 or 66?
15    with the address                      to 15                MR. HALEY: 65, I'm sorry.
16    another group of individuals.            16        BY MR. HALEY:
17           Have you seen this e-mail or      17            Q. 65 in this action from Joe
18    e-mails like this before?                18        Weasel to you dated April 18th at 3:54 p.m.
19        A. No, I haven't.                    19               At the bottom of the e-mail,
20           MR. GRYGIEL: Object to the        20        there's an e-mail from Nick Jones to Joe
21    form. You may answer.                    21        Weasel.
22        A. I have not.                       22               Who is Nick Jones?
23        Q. Do you know what this is?         23           A. Nick Jones is a producer/
24        A. I do not.                         24        videographer in Joe weasel's unit.
25        Q. Do you recognize any of the       25            Q. And he's forwarding a link to a
                                          Page 38                                             Page 40
               JOEL CHEATWOOD                        1              JOEL CHEATWOOD
 2   names in the "To" part of the e-mail?           2   story about Walid Shoebat, and your
 3       A. I do.                                    3   response to Mr. Weasel is: "I wish we
 4       Q. Who is Sara Johnson?                     4   could get this confirmed by someone else."
 5       A. Sara Johnson oversaw social              5            Why were you concerned with
 6   media for TheBlaze.                             6   getting the story confirmed with somebody
 7       Q. And the text of the e-mail               7   else?
 8   appears to be a transcript of Mr. Beck's        8            MR. GRYGIEL: Object to the
 9   radio program.                                  9   form. You may answer.
10           Did you receive copies of              10        A. We did not consider this
11    transcripts of the radio or television        11    individual a strong source.
12    program every day?                            12        Q. In the next line of your e-mail
13           MR. GRYGIEL: Object to the             13    is: "I wonder if Sara has a connection on
14    form.                                         14    this."
15       A. No, I did not.                          15             Who is Sara?
16       Q. And the people in the e-mail,           16        A. I believe I'm referring to Sara
17    the sender is using an AOL address and        17    Carter, who is a reporter for TheBlaze.
18    there are a number of people using Gmail      18        Q. Did you ever determine whether
19    addresses.                                    19    or not Mr. Alharbi had ties to al Qaeda
20           Did the people that were               20    terrorists?
21    employed by TheBlaze have their own company   21        A. We were told by our confidential
22    e-mail?                                       22    sources that there was a belief that he had
23       A. Yes, they did.                          23    ties to terrorists, but we were never able
24       Q. And who is Dan Andros?                  24    to get specifics, so we didn't report it.
25       A. Dan Andros is a writer for              25        Q. And in his response to you, Mr.

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JOEL CHEATWOOD                                                                 March 24, 2016
ALHARBI vs. BECK                                                                       41-44
                                         Page 41                                        Page 43
 1              JOEL CHEATWOOD                     1            JOEL CHEATWOOD
 2   Weasel writes: "If survives today, he'll      2  accurate?
 3   give me a paper trail, and then somebody      3      A. Our confidential sources were
 4   else to -- they will be the best resources.   4  telling us definitively otherwise.
 5           "I was asked to come to" -- and       5      Q. The last line of the e-mail
 6   it's redacted there -- "on Wednesday to        6 says: "Federal officials have denied that
 7   meet with, so I'll probably go."               7 Alharbi is a suspect or even a person of
 8           Was Mr. Weasel asked to go to          8 interest in the Boston bombings."
 9   Washington, D.C.?                              9         Did you believe those officials
10            MR. GRYGIEL: Object to the           10 were providing statements that were
11    form. You may answer.                        11 purposely false?
12        A. Yes.                                  12      A. Yes, I did.
13         Q. And who was he meeting with          13      Q. What did you believe their
14    there?                                       14  motivation  was in providing those
15            MR. GRYGIEL: Objection.              15 statements?
16        A. Confidential sources.                 16      A. I have no idea. You'd have to
17         Q. And when he's saying "it             17 ask them.
18    survives today," do you know what he's       18      Q. Did you ever ask them?
19    referring to there?                          19      A. We certainly did.
20        A. I do not.                             20      Q. And what was their response?
21         Q. Do you personally maintain           21      A. No response.
22    copies of these e-mail messages that were    22      Q. And the basis of your belief
23    sent to you at TheBlaze?                     23 that their statements were false was the
24        A. No, I do not retain copies of         24 information provided to you by your
25    these.                                       25 confidential sources?
                                         Page 42                                        Page 44
 1               JOEL CHEATWOOD                   1          JOEL CHEATWOOD
 2       Q. Mr. Cheatwood, I show you a copy      2        MR. GRYGIEL: Object to the
 3   of a document that's previously been marked 3 form.
 4   as Exhibit 66 in this action from Jason      4    A. Information provided by multiple
 5   Howerton to Joe Weasel.                      5 confidential sources; perspective and
 6            Who is is Jason Howerton?           6 context provided by experts in the field.
 7       A. Jason Howerton is a writer for        7    Q. So the multiple confidential
 8   theblaze .com.                               8 sources would be the four people employed
 9       Q. Did he report directly to you?        9 by the government that you testified to
10        A. He reported to Scott Baker.         10 about previously; correct?
11        Q. In the third-to-last paragraph      11     A. That's correct.
12    of the e-mail, Mr. Howerton writes:        12     Q. And the experts providing
13             "It is unclear why federal        13 context in the field, who were they?
14    officials allegedly believed Alharbi was   14     A. There were a variety.
15    linked to the Boston Marathon attack.      15         Eric Stakelbeck was one who is
16    Simply being present at the scene could    16 an expert in terms of Middle East
17    possibly result in such a distinction."    17 jihadists, has done a great deal of
18             Did you believe that that         18 research and authored a couple of books on
19    statement was accurate, that Mr. Alharbi   19 that.
20    may have been linked to the attacks simply 20         Jason Butrell is a former
21    because he was present at the scene?       21 Army intelligence officer attached to Gavin
22             MR. GRYGIEL: Object to the        22 de Becker security detail that was working
23    form. You may answer.                      23 for Glenn Beck at the time.
24        A. No, I did not.                      24         Patrick Poole was another --
25        Q. Why didn't you believe it to be     25 there were a variety -- Andrew McCarthy,


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JOEL CHEATWOOD                                                                     March 24, 2016
ALHARBI vs. BECK                                                                             45-48
                                         Page 45                                             Page 47
 1              JOEL CHEATWOOD                      1              JOEL CHEATWOOD
 2   former U.S. Attorney who prosecuted the        2   with respect to "Sara"?
 3   first World Trade Center bombing.              3       A. I believe, again, that's Sara
 4            I'm sure I'm leaving several          4   Carter.
 5   out.                                           5       Q. And at the top, your final
 6       Q. Mr. Poole was one of the experts        6   response to Mr. Weasel:
 7   that you relied upon in placing the matter     7           "Worth asking Patrick to help."
 8   in context?                                    8           That was Mr. Poole?
 9       A. Yes.                                    9       A. That's correct.
10                 (Exhibit 107 for                10       Q. And when you say "worth asking,"
11    identification, Two-page document, Series    11    was there some cost to asking Mr. Poole to
12    of e-mail messages, including e-mail dated   12    help?
13    4/19 from Mr. Cheatwood to Mr. Weasel,       13       A. Not at all.
14    production numbers 35109 through 35110.)     14            It was a reference to just
15    BY MR. HALEY:                                15    whether this would fall into his area of
16        Q. Mr. Cheatwood, I show you what's      16    expertise. And, again, I was reminded that
17    been marked as Exhibit 107, which is a       17    our government actually goes to him to
18    two-page e-mail message bearing the Bates    18    consult on terror cells and connections and
19    stamp numbers 35109 and 35110.               19    the like, so I think we did, in fact, pose
20             And on April 19th at 7:39 a.m.,     20    the question.
21    you're writing to Mr. Weasel saying:         21       Q. Mr. Cheatwood, I show you a copy
22             "Wonder how our guy fits into       22    of what's been marked as Exhibit 67.
23    this."                                       23            And this is an e-mail from, at
24             Were you referring to Mr.           24    the top, from Eric Stakelbeck to Joe
25    Alharbi there?                               25    Weasel, and was this the Eric Stakelbeck
                                         Page 46                                             Page 48
 1           JOEL CHEATWOOD                         1             JOEL CHEATWOOD
 2      A. Yes.                                     2   that you referred to earlier?
 3         MR. GRYGIEL: Take your time and          3       A. Yes.
 4 read the whole document so you have the          4       Q. And you're writing to Mr.
 5 full context before you answer.                  5   Stakelbeck in the middle of the page there
 6 BY MR. HALEY:                                    6   at 3:47 p.m.
 7      Q. And this is in response to a             7           Your question to him is:
 8 story about three Pakistanis arrested in         8           "Do you have any knowledge of
 9 Watertown, Mass in connection to the Times       9   the Saudi national's (Al Harby) family or
10 Square bombing; is that correct?                10    clan connection in Saudi? I know Walid
11      A. Yes.                                    11    Shoebat has published, but I'd like to have
12      Q. And Mr. Weasel replies:                 12    another source before we go with it."
13          "Same age student. Probably            13            Did you ever make any
14 knew each other."                               14    determinations about Mr. Alharbi's family
15          Did you ever make any                  15    or clan connections?
16 determination about whether Mr. Alharbi         16        A. We did not reach any definitive
17 knew any of the three Pakistanis who were       17    conclusions that we felt comfortable going
18 arrested in connection to the Times Square      18    forward with.
19 bombing?                                        19        Q. And Mr. Stackelback's response
20      A. We did not.                             20    to you says: "I was just talking to
21      Q. And your response to Mr. Weasel         21    Emerson about this."
22 at 8: 17 a.m. is:                               22            Do you know who he's referring
23          "Can we get Sara and others to         23    to there?
24 start looking for possible connections?"        24        A. I believe he's referring to
25         Who are you referring to there          25    Steve Emerson.

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JOEL CHEATWOOD                                                                     March 24, 2016
ALHARBI vs. BECK                                                                           49-52
                                          Page 49                                            Page 51
 1             JOEL CHEATWOOD                        1           JOEL CHEATWOOD
 2       Q. Who is that?                             2 program. The next took place typically 2,
 3       A. Another noted authority on               3 2:30 in the afternoon.
 4   terrorism and Middle East radicals.             4    Q. Was that in person or a
 5                (Exhibit 108 for                   5 conference call?
 6   identification, E-mail from Ms. Grace to        6    A. Since the staff was split
 7   Mr. Culligan, production numbers 35124.)        7 between New York and Dallas, it was some in
 8   BY MR. HALEY:                                   8 person; some via conference call or Skype.
 9       Q. Mr. Cheatwood, I show you a copy         9    Q. Did Mr. Beck participate in
10    of what's been marked as Exhibit 108, which   10 those meetings?
11    is an e-mail message, Bates stamp number      11     A. Yes.
12    35124.                                        12     Q. And who led those meetings?
13            Have you seen this before?            13     A. Typically, he and I led the
14        A. No, I have not.                        14 meetings, especially in the morning.
15        Q. Do you know who Thomas Culligan        15         In the afternoon, typically his
16    is?                                           16 show producer led the afternoon meeting to
17        A. I do not.                              17 update the television show.
18        Q. And did Virginia Grace report to       18     Q. And who was that?
19    you?                                          19     A. Tiffany Siegel.
20        A. Ultimately, yes.                       20     Q. What took place at the meetings?
21        Q. And in her message to Mr.              21     A. In the morning meeting, there
22    Culligan, she's asking about Visa             22 was a basic discussion of current events
23    revocation and deportation of Mr. Alharbi,    23 that had occurred either the previous day
24    and it says: "I am under a deadline of        24 or overnight or expected to occur that day.
25    3 p.m. today so any response would be         25         Stories that had been planned,
                                          Page 50                                            Page 52
 1             JOEL CHEATWOOD                        1             JOEL CHEATWOOD
2    greatly appreciated."                           2   reevaluated, reassessed, and a basic
3             Was that a deadline for the            3   outline of what the television show would
4    production of the television program?           4   be that evening.
5        A. I really can't speak to what she         5       Q. And what took place in the
6    was meaning here. I don't believe that was      6   afternoon meeting?
7    the deadline for the TV program.                7       A. In the afternoon was an update
8        Q. To your knowledge, what was the          8   on where stories stood, what had changed,
9    regular deadline for the TV program?            9   what had been added or subtracted, guests
10        A. It varied depending on whether         10    that might have been added or subtracted.
11    the show was live or on tape. Live            11        Q. How did the radio program and
12    programs, really, work was being unraveled    12    the television program differ?
13    until the 5 o'clock air date.                 13        A. Radio program was a different
14        Q. Was there a particular procedure       14    production team. They typically held their
15    or format that you followed with respect to   15    own production meeting in addition to the
16    the broadcast?                                16    morning one where everyone attended, and
17            Did you meet as a group               17    they crafted the radio program with Glenn.
18    regularly or how did that work?               18        Q. Did you participate in that at
19            MR. GRYGIEL: Object to the            19    all?
20    form.                                         20        A. Only to the extent that I was in
21        A. Yes. There were two editorial          21    the morning meeting where everyone
22    meetings per day.                             22    attended.
23        Q. When did those take place?             23        Q. And with respect to the
24        A. One took place early in the            24    television program, was it scripted in
25    morning prior to Glenn Beck's radio           25    advance?

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JOEL CHEATWOOD                                                                     March 24, 2016
ALHARBI vs. BECK                                                                              53-56
                                          Page 53                                            Page 55
 1             JOEL CHEATWOOD                        1            JOEL CHEATWOOD
 2      A.    Yes.                                   2 Alharbi was?
 3       Q. And did somebody have authority          3         MR. GRYGIEL: Object to the
 4   to approve those scripts?                       4 form.
 5       A. Usually the show producer,               5    A. I don't know why he did not want
 6   Tiffany Siegel, would approve the scripts.      6 to name Mr. Alharbi at that point.
 7   Glenn Beck, of course, had the final            7    Q. And on the next page of the
 8   approval.                                       8 exhibit, page 20, Mr. Beck asks Mr. Sexton:
 9       Q. Did you have any role in their           9         "Do you believe that he was
10    approval?                                     10 there just by happenstance? Is that very
11       A. If there was any question or any        11 likely?"
12    sort of decision to be made as to whether     12          And Mr. Sexton answers:
13    or not we wanted something, I would be        13          "Glenn, I don't know."
14    involved in that, yes.                        14          Did you have any information on
15       Q. And with respect to the radio           15 April 19th that Mr. Alharbi was not there
16    program, was that scripted as well?           16 just by happenstance?
17       A. I would say not scripted.               17          MR. GRYGIEL: Objection.
18    Outlined more than scripted.                  18     A. We did not.
19            Occasionally, there were              19     Q. If I could direct your attention
20    monologues that were scripted, but            20 to page 28 of the transcript --
21    typically outlined.                           21     A. Excuse me, could I ask you to go
22       Q. Mr. Cheatwood, I show you a copy        22 back and ask the previous question again?
23    of what's previously marked as Exhibit 68,    23          I just want to make sure I
24    which is transcripts from the Glenn Beck      24 answered that correctly.
25    radio program, and direct your attention to   25          MR. HALEY: The easiest way to
                                          Page 54                                            Page 56
               JOEL CHEATWOOD                        1               JOEL CHEATWOOD
 2   page Bates stamp numbered 889 on the bottom     2   do that is have her read it back.
 3   right-hand corner, which is page 19 of the      3           I'll have her read the question
 4   transcript.                                    4    and your answer, and then if you want to
 5           Mr. Beck, on page 19, is talking        5   provide more testimony or a correction,
 6   to Buck Sexton. Who is Buck Sexton?            6    you're welcome to.
 7       A. Buck Sexton is an employee of            7           (Requested portion of record
 8   TheBlaze who is a former CIA analyst and       8    read.)
 9   former New York PD Antiterrorism Task Force     9       A. Can you rephrase that question?
10    employee.                                     10            MR. GRYGIEL: I think the
11        Q. And did you believe Mr. Sexton         11    double-negatives are confusing.
12    was a credible person?                        12       A. I want to make sure I'm
13        A. Yes.                                   13    understanding the meaning of the question.
14        Q. And did you think his                  14       Q. Sure. So my question is this:
15    information was trustworthy and accurate?     15            Mr. Sexton, in response to Mr.
16        A. Yes.                                   16    Beck's questions about whether, you know,
17        Q. At the top of page 19, Mr. Beck        17    Mr. Sexton believes that Mr. Alharbi was
18    is saying: "Without getting into details      18    there just by chance or happenstance, Mr.
19    of who this guy is yet, can you tell me, do   19    Sexton says: "I don't know."
20    you believe this was a coincidence that he    20            And my question to you was:
21    happened to be standing there, right there    21            Did you have any information
22    by the bomb? Was he possibly the control?"    22    that Mr. Alharbi was not there just by
23            Was there some reason why on          23    happenstance?
24    April 19th, to your knowledge, Mr. Beck       24            In other words, that he was
25    didn't want to get into details of who Mr.    25    there purposely -- at that point,


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JOEL CHEATWOOD                                                                      March 24, 2016
ALHARBI vs. BECK                                                                            57-60
                                          Page 57                                             Page 59
                JOEL CHEATWOOD                       1             JOEL CHEATWOOD
2    April 19th -- that he was there purposely       2   Boston bombing.
3    to undertake some criminal or terrorist         3        Q. And it was your belief that the
4    act?                                            4   Department of Homeland Security and the
5             MR. GRYGIEL: Objection to the          5   Administration was covering up that
 6   form.                                           6   involvement?
 7        A. We had, through confidential            7       A. Based on the information
 8   sources, information that linked Mr.            8   provided by our confidential sources, it
 9   Alharbi to the crime. So, yes, we believe       9   was clear that they were not being
10    that he was there as a part of the crime      10    forthcoming.
11    that was committed.                           11        Q. And did you understand why they
12         Q. And was there a reason then why       12    weren't being forthcoming?
13    Mr. Beck wasn't speaking about that on the    13        A. I did not.
14    April 19th? Were you trying to get more       14        Q. Directing your attention to the
15    verification or information?                  15    next page of the transcript, on page 29,
16        A. I can't speak to exactly why he        16    Mr. Steve Emerson is speaking, and Mr.
17    was not identifying Mr. Alharbi on this       17    Emerson was an expert that you relied upon;
18    date. I just don't recall.                    18    is that correct?
19         Q. And on page 28 of Exhibit 68,         19        A. That's correct.
20    following along in the transcript on          20        Q. And Mr. Emerson, in referring to
21    April 19th, Mr. Beck, starting on line 5,     21    Secretary Janet Napolitano, says:
22    says: "But when I found yesterday who that    22            "Janet Napolitano" -- the next
23    guy is and what we have on him and how our    23    day -- "yesterday morning, denied any
24    media was rooting for an American to be the   24    knowledge of this," referring to Mr.
25    killer; and how our president, this           25    Alharbi's alleged violation of his Visa.
                                          Page 58                                             Page 60
 1             JOEL CHEATWOOD                        1             JOEL CHEATWOOD
 2   Administration, the Department of Homeland      2          And Mr. Beck says: "She lied."
 3   Security and everything else, how they have     3           Did you have any knowledge that
 4   covered this up, how they have aided and        4   Secretary Napolitano was lying when she
 5   abetted this guy is obscene and it's            5   denied Mr. Alharbi's involvement?
 6   criminal," what information did you have,       6           MR. GRYGIEL: Object to the form
 7   Mr. Cheatwood, that the Department of           7   of the question.
 8   Homeland Security, President Obama or the       8       A. Based on the information that
 9   Administration was covering up Mr.              9   was provided to us by our confidential
10   Alharbi's involvement in the Boston            10   sources, it was clear that her statements
11    Marathon attacks?                             11   were certainly not congruent with the
12            MR. GRYGIEL: Object to the            12   evidence that was in existence.
13   form. It also might be helpful to read the     13        Q. And at the bottom of the page,
14    preceding part of this, Joel, so you get      14    Mr. Beck states: "Steve, I can, because we
15   the full context.                              15    have six Congressmen follow, go into things
16        A. Okay. Can you repeat the               16   that we can't go into, and they looked at
17   question, please.                              17   documents."
18            (Requested portion of record          18           Do you know what documents Mr.
19    read.)                                        19    Beck is referring to there?
20            MR. GRYGIEL: Object to the            20       A. My understanding was the
21   form.                                          21   Congressmen that he's referring to had the
22        A. At this point, we had                  22    same documents that we had acquired.
23    information from our confidential sources     23        Q. And those were the documents
24   as to Mr. Alharbi's involvement, and           24   that we previously reviewed, Document 60
25    evidence that he was connected to the         25   and 61; is that correct?

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JOEL CHEATWOOD                                                                      March 24, 2016
ALHARBI vs. BECK                                                                            61-64
                                          Page 61                                             Page 63
               JOEL CHEATWOOD                        1              JOEL CHEATWOOD
2         A. At least those. We don't know           2   news story, there is information that does,
3    if they had -- they've had more than we         3   in fact, turn out to be either out of
4    had. I'm not sure.                              4   context or inaccurate.
5         Q. With respect to the documents           5        Q. Directing your attention to page
6    that you had, however, those documents were     6   48 of the transcript, Bates stamp number
7    confined to Exhibits 60 and 61; is that         7   918, and there, Mr. Beck states:
8    correct?                                        8            "While we have six Congressmen
9            MR. GRYGIEL: Object to the              9   yesterday afternoon that verified that the
10    form.                                         10    event, which is basically the name of a
11        A. I believe so, yes.                     11    file that was opened, says that he was
12        Q. Were the Congressmen themselves        12    being deported on terrorism charges, and
13    your confidential sources?                    13    then I believe it was either a dash or a
14            MR. GRYGIEL: Objection.               14    hash, and it said 'Boston Marathon
15        A. I can't answer on advice of            15    bombing,' so he was related to this somehow
16    counsel.                                      16    or another, but how? Do you have any idea
17            MR. GRYGIEL: And on the basis         17    on any speculation there?"
18    of the First Amendment Reporter's Privilege   18             And at that point, Mr. Poole
19    that you're independently asserting, apart    19    states:
20    from my advice.                               20             "At this point, we don't know
21        A. It was also based on the First         21    how he might be related."
22    Amendment Reporter Privilege.                 22             Was that statement accurate as
23        Q. Mr. Cheatwood, I'll direct your        23    of April 19th, Mr. Cheatwood, that at that
24    attention to page 45 of the transcript of     24    point, neither Mr. Poole or anyone else at
25    April 19th, which has the Bates stamp         25    TheBlaze knew how Mr. Alharbi might be
                                          Page 62                                             Page 64
 1             JOEL CHEATWOOD                        1             JOEL CHEATWOOD
 2   number 915 in the bottom right-hand corner.     2   related to the Boston Marathon attacks?
 3           Mr. Beck is speaking to Patrick         3            MR. GRYGIEL: Object to the
 4   Poole about the events involving the            4   form, and also there's been no foundation
 5   Tsaernaev brothers and the Boston Marathon      5   that Mr. Poole was in the employment of
 6   investigation, and Mr. Poole, on line 19,       6   TheBlaze at the time this statement was
 7   says: "And we have to implement the             7   made, unless there's no basis for
 8   75 percent rule. You know, 75 percent of        8   attributing or ascribing his statement to
 9   what we hear just will probably end up          9   any defendant in this case.
10    being wrong."                                 10    BY MR. HALEY:
11            Was that a statement that you         11        Q. Mr. Poole was a source that
12    agreed with, Mr. Cheatwood?                   12    TheBlaze relied on; correct?
13            MR. GRYGIEL: Object to the            13        A. Yes.
14    form, and object to the context in which      14        Q. And you testified earlier that
15    the question is presented.                    15    he was a reliable and trustworthy source;
16       A. I have no understanding of how          16    is that correct?
17    he bases that opinion. I couldn't comment     17        A. Yes.
18    on that opinion.                              18        Q. And Mr. Poole is saying -- and
19        Q. Would you agree, though, that in       19    he's using the word "we" -- "At this point,
20    the immediate aftermath of an event,          20    we don't know how he might be related," and
21    oftentimes there is a lot of information      21    "he" is referring to Mr. Alharbi.
22    that turns out to be inaccurate?              22            Did you believe that statement
23            MR. GRYGIEL: Object to the            23    was inaccurate?
24    form.                                         24            MR. GRYGIEL: Object to the
25       A. I think with any news event or          25    form.

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JOEL CHEATWOOD                                                                      March 24, 2016
ALHARBI vs. BECK                                                                            65-68
                                         Page 65                                              Page 67
 1             JOEL CHEATWOOD                       1              JOEL CHEATWOOD
2         A. I can't speak to what Mr. Poole       2     organizations."
3    and what information he was basing that on.   3             Do you know what he's referring
4            I do know that Mr. Poole did not      4     to there?
5    have access to the confidential sources        5        A. We shared the basic facts of the
6    that we were drawing our information from.     6    story with other news organizations and
7         Q. And who had access to those            7    offered to really allow them to conduct
8    sources?                                      8     their own investigation/reporting.
9         A. Joe Weasel had direct contact          9        Q. And what organizations were
10    with those sources.                          10     those?
11        Q. Did you ever have any direct          11        A. I know specifically Fox News.
12    contact with those sources?                  12            I had conversations with the
13        A. I had direct contact with one.        13     Wall Street Journal.
14        Q. Other than you and Mr. Weasel,        14         Q. Anyone else?
15    who had contact with the sources?            15        A. Let's see -- and I believe ABC
16        A. In terms of TheBlaze, that was        16     News.
17    it.                                          ·17        Q. Did you have conversations with
18        Q. And what about not in terms of        18     anyone at ABC News?
19    TheBlaze?                                    19        A. I did not.
20        A. I can't answer who they had           20         Q. . How about Fox News?
21    contact with. I have no idea.                21        A. I did not have a direct
22        Q. On page 51 of the transcript,         22     conversation.
23    Bates stamp number 921, Mr. Beck --          23         Q. Who did you speak to at the Wall
24    continuing a discussion with Mr. Poole --    24     Street Journal?
25    states:                                      25        A. I don't recall the name.
                                         Page 66                                              Page 68
1               JOEL CHEATWOOD                                      JOEL CHEATWOOD
2             "There are very good people" --       2    didn't know the person well. It was one of
3    this is line 19 -- "There are very good        3    their editorial board.
4    people that have risked more than their job   4         Q. Did Fox News, the Wall Street
5    to give TheBlaze and others now this           5    Journal or ABC News pursue the story?
6    information.                                   6        A. I don't know.
7             "TheBlaze is the one that is          7        Q. Were you aware of any other
8    reporting all of it because we have all of    8     media source such as Fox, the Wall Street
9    it, but we have shared it with other media     9    Journal or ABC that reported that Mr.
10    organizations."                              10     Alharbi funded the Boston Marathon attacks?
11             Do you know what Mr. Beck is        11              MR. GRYGIEL: Object to the
12    referring to there, that people had risked   12     form.
13    more than their job to give TheBlaze         13         A. I am not aware that they did.
14    information?                                 14         Q. And what was the motivation in
15             MR. GRYGIEL: Object to the          15     speaking to other media organizations?
16    form.                                        16         A. We felt the story was of the
17        A. We believe that the confidential      17     importance that it was -- we shouldn't be
18    sources were risking their careers in        18     the exclusive reporter of the story.
19    providing that information.                  19              We were more than willing to
20        Q. And why was that?                     20     share facts and information in order to get
21        A. Clearly this was information          21     the message out to a broader audience.
22    that the government did not want made        22         Q. And was that simply an
23    public.                                      23     altruistic public good motivation?
24        Q. And Mr. Beck states: "But we          24              MR. GRYGIEL: Object to the
25    have shared it with other media              25     form.


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JOEL CHEATWOOD                                                                      March 24, 2016
ALHARBI vs. BECK                                                                            69-72
                                          Page 69                                             Page 71
1               JOEL CHEATWOOD                       1              JOEL CHEATWOOD
2        A. Yes.                                     2   judgement of the news managers in charge.
3        Q. And would the reporting by other         3       Q. So with respect to things such
4    media or news organization also lend some       4   as the use of confidential sources or the
5    additional credibility to your reporting?       5   like, CBS had no written policy or
6            MR. GRYGIEL: Object to the              6   statement that governed that?
7    form.                                           7       A. I just don't recall. I don't
8        A. We weren't concerned about               8   recall seeing one.
9    credibility based on the information and        9       Q. And was that something that you
10    the quality of information being provided     10    were involved in, in connection with your
11    by multiple confidential sources.             11    role at CBS?
12            We just felt a broader                12            Would you the person who would
13    distribution would be meaningful to the       13    be responsible for ensuring that people
14    public.                                       14    complied with uniform policy as to
15        Q. Do you have any role in the            15    reporting?
16    business side of TheBlaze?                    16        A. At the local level, it would
17        A. Not really, no.                        17    have been the news director and the general
18        Q. When you say "not really," did         18    manager of the specific station. If it
19    you have any role?                            19    escalated something that was deemed more
20        A. I was kept apprised. Did not           20    important than just local, yes.
21    make decisions regarding the business side.   21        Q. Is it fair to say with respect
22        Q. Was your compensation at all           22    to those policies, that the general purpose
23    dependant on business returns of TheBlaze     23    of them is to ensure that the information
24    or the amount of money that was generated     24    that is reported is fair, accurate and
25    through advertising or otherwise?             25    truthful?
                                          Page 70                                             Page 72
 1            JOEL CHEATWOOD                         1            JOEL CHEATWOOD
 2       A. No.                                      2           MR. GRYGIEL: Object to the
 3          MR. GRYGIEL: We've been going            3   form.
 4   for an hour. Why don't we take 5 minutes.       4      A.     Yes.
 5          MR. HALEY: Sure.                         5      Q.     And one of the reasons for that
 6          (A recess was taken.)                    6   is that publishing information that's false
 7   BY MR. HALEY:                                   7   or inaccurate can have a very adverse
 8       A. Can I make one addition to my            8   effect on, one, misleading the public; and
 9   experience, when you were asking about my       9   two, can have a demonstrated unfairness to
10    experience in television?                     10    the people who are being reported about?
11       Q. Yes.                                    11             MR. GRYGIEL: Object to the
12       A. While at WCBS, I also served as         12    form. That's a sermon, Peter. Not a
13    the executive vice president for news and     13    question.
14    marketing for all the CBS owned and           14        A. That certainly can be an
15    operated stations.                            15    eventuality.
16       Q. With respect to CBS's                   16             The other aspect of the
17    operations, do they have written policies     17    situation with a station group is you have
18    and procedures that govern their reporting?   18    multiple managers involved in the process,
19       A. To the best of my recollection,         19    so it's important that they know
20    we did not have a written policy that was     20    individually what the process is.
21    standard at the station.                      21             At TheBlaze, again, I was the
22       Q. How was it that CBS made a              22    sort of conduit to everything.
23    determination as to what to air or            23        Q. During your tenure at TheBlaze,
24    broadcast or not?                             24    did Mr. Beck ever publish anything or
25       A. Typically relied on the                 25    broadcast or say anything publicly on the

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JOEL CHEATWOOD                                                                     March 24, 2016
ALHARBI vs. BECK                                                                           73-76
                                          Page 73                                             Page 75
 1              JOEL CHEATWOOD                       1              JOEL CHEATWOOD
 2   air that you disagreed with or you thought      2   potential new evidence presented itself, we
 3   was inconsistent with the policies and          3   went back to them hundreds of times.
 4   procedures that you were in charge of           4       Q. And the multiple sources that
 5   enforcing?                                      5   you had were the four confidential sources?
 6            MR. GRYGIEL: Object to the             6       A. Those were the primary
 7   form.                                           7   confidential sources, yes.
 8       A. I would say Mr. Beck had a               8       Q. When you say "we went back to
 9   three-hour opinion-based radio show.            9   them hundreds of times," who are you
10            In terms of what I dealt with at      10    referring to when you say "we"?
11    TheBlaze, no.                                 11       A. Joe Weasel at my direction.
12        Q. Was the radio show, was it also        12       Q. And you testified earlier that
13    broadcast? Was it also televised?             13    you spoke to one confidential source
14        A. Yes, simulcast.                        14    directly.
15        Q. If I could direct your attention       15            How many times did you speak to
16    to page 66 of Exhibit 68, Bates stamp         16    that source?
17    number 936, continues with the transcript     17       A. I believe only one -- I believe
18    of April 19th.                                18    on two occasions.
19            There, Mr. Beck, starting on          19        Q. And when was that?
20    line 11, states: "I have asked my staff       20       A. The first occasion would have
21    over and over and over again, and my senior   21    occurred right around, I believe, the 19th.
22    staff, Joel Cheatwood, has been in my         22    Maybe the 18th.
23    office about how many times, I don't even     23        Q. And when was the second
24    know, ten in the last 24 hours for this       24    occasion?
25    question: 'Are you sure?' 'Have you           25       A. I believe the second occasion
                                          Page 74                                             Page 76
1               JOEL CHEATWOOD                       1             JOEL CHEATWOOD
2    double-checked?' 'Have you triple-checked?'     2   was actually quite a bit later in May. I
3    'Are you sure?"'                                3   don't recall the exact date.
4             In this period of time,                4      Q. Prior to those occasions, did
5    April 18th to April 19th, were you speaking     5   you know or had you spoken to that source
6    to Mr. Beck a lot about the Alharbi story?      6   before?
7        A. Yes, I was.                              7      A. No.
8         Q. And was Mr. Beck asking you for         8      Q. And since May of 2013, have you
9    confirmation in terms of, have you              9   spoken to the source after that?
10    double-checked or triple-checked?             10       A. Let me go back, if I may.
11        A. Absolutely.                            11           I knew of the source. Had not
12        Q. And did you provide that               12    personally spoken to them.
13    information?                                  13       Q. And had you ever met them?
14        A. Yes, I did.                            14       A. Prior to my conversations, no.
15        Q. With respect to that question,         15       Q. And were your conversations by
16    have you double-checked or triple-checked,    16    phone or in person?
17    is that something that you responded to       17       A. One by phone; one in person.
18    affirmatively?                                18       Q. Which was which, April or May?
19        A. Yes, I did.                            19       A. April was by phone.
20        Q. And with respect to something          20       Q. And in May you met in person?
21    being double-checked or triple-checked,       21       A. Yes.
22    that would refer, I assume, to having         22       Q. Where did you meet?
23    multiple sources?                             23       A. In Washington, D.C.
24        A. Multiple sources, and also going       24       Q. What was the purpose of that
25    back to those sources as questions arose as   25    meeting?


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JOEL CHEATWOOD                                                                     March 24, 2016
ALHARBI vs. BECK                                                                             77-80
                                         Page 77                                             Page 79
 1             JOEL CHEATWOOD                       1           JOEL CHEATWOOD
 2      A.    The --                                2 Congressional aide, do you know who that
 3           MR. GRYGIEL: Are we talking            3 was?
 4   about the April phone call or the May          4         MR. GRYGIEL: Without
 5   meeting?                                       5 identification, if it's a confidential
 6           MR. HALEY: The May meeting.            6 source.
 7       A. The May meeting was a general           7    A. I can't say for certain that I
 8   information meeting on a variety of topics.    8 know who that is.
 9        Q. And did the topics include the         9    Q. And going on, Mr. Beck states:
10    information about Mr. Alharbi?               10          "He requested anonymity to
11        A. Yes, I believe it did.                11 protect those who had secretly provided the
12        Q. How long did the phone                12 report, but proceeded to read to us the
13    conversation on April 18th or 19th take?     13 eight-page document which confirmed every
14        A. To the best of my recollection,       14 single detail we reported yesterday and
15    it was a 30 or 40-minute phone call.         15 throughout the day."
16        Q. Was anyone else on the call           16          Do you know what document Mr.
17    besides you and the source?                  17 Beck is referring to there?
18        A. No.                                   18     A. I believe this would have been
19        Q. To your knowledge, other than         19 the document that contained the tech files.
20    you and Mr. Weasel, does anybody else at     20     Q. Which would be the Exhibit 60
21    TheBlaze know the identity of the sources?   21 that we looked at earlier?
22        A. No, I don't believe so.               22     A. Yes.
23        Q. Mr. Beck?                             23     Q. Directing your attention to page
24        A. I don't believe so.                   24 94 of Exhibit 68, continuing on the
25        Q. Did Mr. Beck ever ask you the         25 April 19th transcript, Mr. Beck is speaking
                                         Page 78                                             Page 80
 1           JOEL CHEATWOOD                         1              JOEL CHEATWOOD
 2 identity of the sources?                         2   to Glen Hall.
 3     A. Never asked for their names.              3            Who is Glen Hall?
 4     Q. Mr. Cheatwood, if I could direct          4       A. At the time, Glen Hall was the
 5 your attention to page 79 of the                 5   managing editor of theblaze.com.
 6 transcript, bearing the Bates stamp 949.         6       Q. And there, Mr. Beck asks Mr.
 7         In there, on line 15, Mr. Beck           7   Hall on page 94, line 10:
 8 makes reference to Mr. Alharbi's apartment       8            "Boy, I tell you, Glen, I mean,
 9 in Revere, Massachusetts, and then says:         9   you know all about it. Would you find out
10 "It was raided."                                10    where his status is and keep us up to speed
11          Do you know whether Mr. Alharbi        11    on if they're trying to move him out of the
12 gave permission for the authorities to          12    country sooner than Tuesday?"
13 search his apartment or they searched it        13             And Mr. Hall responds by saying:
14 without his permission?                         14             "We're working on that,
15     A. I believe he was notified that           15    absolutely, Glenn. And you know that early
16 the search was going to take place, and I       16    indications from inside the FBI were that
17 believe he did not try to stop them.            17    they do not consider him to have been
18     Q. On page 81 of the transcript,            18    involved in this activity, but he was a
19 Mr. Beck is testifying about a high-ranking     19    material witness at the very least."
20 Congressional aide "who told us that the        20             Do you believe that that
21 deportation order that we had just reported     21    statement was inaccurate, the FBl's
22 on had just been requested and delivered to     22    statement that they did not believe Mr.
23 his boss." That's on line 15 ending on          23    Alharbi was involved in the activity?
24 line 19.                                        24             MR. GRYGIEL: Object to the
25          Was the high-ranking                   25    form.

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JOEL CHEATWOOD                                                                     March 24, 2016
ALHARBI vs. BECK                                                                           81-84
                                          Page 81                                            Page 83
1               JOEL CHEATWOOD                      1            JOEL CHEATWOOD
2        A. Yes, I believe it was                   2    matters?
3    inaccurate.                                    3        A. I do not.
4            Mr. Hall did not have access to        4        Q. And is it your understanding or
5    the confidential sources that were being       5    belief that the government simply chose not
6    used by TheBlaze television and was relying    6    to prosecute him even though they knew he
7    on FBI information from people who were not    7    was involved?
8    directly involved with the investigation.      8        A. I can't speak to the
9        Q. And is it your belief that the          9    government's motivation.
10    FBI people, FBI personnel who were saying     10        Q. Mr. Cheatwood, I show you what's
11    that Mr. Alharbi was not involved were        11    previously been marked as Exhibit 69 in
12    covering something up, or just didn't have    12    this matter.
13    the same information that you had?            13            Have you seen this before?
14            MR. GRYGIEL: Object to the            14        A. Yes.
15    form.                                         15        Q. Is this person one of the
16       A. I can't speak for their motives.        16    confidential sources?
17            I can only say that based on the      17        A. I don't know.
18    confidential sources that we had providing    18        Q. Did you ever ask Mr. Weasel
19    the information and evidence, they provided   19    whether the person in this e-mail was one
20    the statements that the FBI had were not      20    of the confidential sources?
21    accurate.                                     21        A. This e-mail was not directed to
22       Q. And what exactly did the                22    me so I don't know.
23    confidential sources say about Mr.            23        Q. I direct your attention to
24    Alharbi's role in funding the attacks?        24    Exhibit Number 70, which is Mr. Weasel
25       A. They believe that Mr. Alharbi           25    forwarding this e-mail to you on Saturday,
                                          Page 82                                            Page 84
1               JOEL CHEATWOOD                       1             JOEL CHEATWOOD
2    provided funding and probably organization      2   April 20th at 3:55, and he says "From" --
3    to the group that committed the attacks.        3   and that's redacted -- "does this help?"
4        Q. And the basis of that belief was        4            So when you received this, did
5    what?                                           5   you ask him whether or not -- or did you
6        A. The basis of that belief was two         6   have an understanding of whether or not
7    things, really. The evidence that he did        7   this person was one of the confidential
8    not detonate the bombs physically, but that     8   sources?
9    he had been designated as a terrorist           9           MR. GRYGIEL: Object to the
10    212(3)(8).                                    10    form, and which person, Peter, are you
11             The fact that based on the           11    referring to?
12    experience of the senior law enforcement      12            MR. HALEY: I'm referring to the
13    officials, who were our confidential          13    person who sent the e-mail dated Saturday,
14    sources, that's how it would have worked,     14    April 20, 2013 at 11 :06 a.m.
15    and that would have been his involvement in   15            MR. GRYGIEL: Okay.
16    the organization.                             16        A. It was my understanding this was
17        Q. And to your knowledge, did any         17    from a confidential source.
18    of those sources have any information that    18        Q. To your knowledge, did you make
19    showed a transfer of funds or expenditure     19    any response to Mr. Weasel's inquiry:
20    of funds by Mr. Alharbi for the benefit of    20    "Does this help?"
21    the terrorists?                               21        A. I don't recall.
22        A. I don't know.                          22        Q. Do you know what he's referring
23        Q. And do you have any                    23    to there, in terms of helping?
24    understanding or belief as to why Mr.         24        A. To the best of my recollection,
25    Alharbi was not prosecuted for those          25    I had requested that Mr. Weasel and his


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JOEL CHEATWOOD                                                                     March 24, 2016
ALHARBI vs. BECK                                                                             85-88
                                          Page 85                                            Page 87
 1             JOEL CHEATWOOD                       1               JOEL CHEATWOOD
 2   staff begin a timeline of events as to what     2      A.    They reviewed the facts that we
 3   transpired in the days following the Boston     3   presented on air.
 4   bombing, including the various government       4       Q. For every broadcast?
 5   assertions as to what had happened and Mr.      5       A. Not for every broadcast.
 6   Alharbi's involvement.                          6           I think when we were introducing
 7       Q. And is there anything in that            7   new facts, we always fact-checked not only
 8   Saturday, April 2oth e-mail at 11 :06 a.m.      8   through our confidential sources, but
 9   that led you to believe that Mr. Alharbi        9   really our experts as well.
10    played some role in funding the attack?       10        Q. And in the second paragraph
11        A. Let me re-read that.                   11    there, Mr. Weasel says: "For every serve
12        Q. Sure.                                  12    we make, they are ready to return."
13        A. This e-mail doesn't specifically       13            Do you know who Mr. Weasel is
14    refer to Mr. Alharbi's role.                  14    referring to there, when he says "they are
15            That information came from            15    ready to return"?
16    direct conversations between Joe Weasel and   16        A. I believe the "they" would refer
17    our confidential sources.                     17    to the U.S. government.
18        Q. On the line item there,                18        Q. Was it Mr. Weasel's belief, to
19    April 17th, it states:                        19    your knowledge, that the U.S. government
20            "Officials cleared Alharbi, who       20    was trying to prevent the accurate
21    is reportedly related to al Qaeda Gitmo       21    information of the story from coming out?
22    detainees, as a person of interest."          22            MR. GRYGIEL: Object to the
23            Did you ever receive any              23    form.
24    information or make any determination that    24        A. Yes. Mine as well.
25    Mr. Alharbi was related to al Qaeda           25        Q. That was your belief as well?
                                          Page 86                                            Page 88
                JOEL CHEATWOOD                       1           JOEL CHEATWOOD
 2   detainees at Guantanamo Bay?                    2     A. Yes.
 3       A. We did not receive specific              3     Q. And why was it you thought the
 4   information in that regard.                     4 government was trying to keep the accurate
 5       Q. Mr. Cheatwood, I show you what's         5 information from coming out?
 6   previously been marked as Exhibit 71 in         6     A. I couldn't answer that question.
 7   this action, which is, at the top, an           7 You'd have to ask them.
 8   e-mail from Joe Weasel to you dated             8     Q. What was the basis of your
 9   Saturday at 4:58 p.m.                           9 belief?
10            And the e-mails, which start on       10     A. Again, I had no idea what the
11    the second page with a Bates stamp number     11 motivation would be.
12    35535 on April 20th at 4:36 p.m., Mr.         12         We only knew that the
13    Weasel writes: "I think it would be wise      13 confidential sources with direct access to
14    to keep the stuff Glenn mentions on air       14 the investigation were telling us a set of
15    tightly scripted. I have a few concerns.      15 facts that were not consistent with what
16            "One, that they will claim this       16 the government was saying.
17    is a police investigation. I want to make     17     Q. Do you know why Mr. Weasel is
18    sure that I get somebody to look over what    18 expressing a concern that it would be wise
19    we're going to say on air."                   19 to keep the stuff Glenn mentions on air
20            Was that person that Mr. Weasel       20 tightly scripted?
21    is referring to one of the confidential       21     A. Any time you're discussing a
22    sources?                                      22 story with sensitivity and grave
23        A. Yes, I believe so.                     23 allegations, as this one did, it's common
24        Q. And did that person review what        24 practice to want to make sure that the
25    Mr. Beck said on air?                         25 talent stays as close to script as very

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JOEL CHEATWOOD                                                                  March 24, 2016
ALHARBI vs. BECK                                                                          89-92
                                          Page 89                                         Page 91
 1              JOEL CHEATWOOD                      1           JOEL CHEATWOOD
 2   possible because the facts are vetted and      2 counsel?
 3   you want to keep them close to the facts.       3     A. We reviewed an e-mail that
 4       Q. In that case, the talent is Mr.          4 outlined what the definition of 212(3)(8)
 5   Beck?                                           5 is.
 6       A. That's correct.                          6     Q. And who did the e-mail come
 7       Q. And this was a story which               7 from?
 8   involved matters of grave concern? Is that      8     A. I don't recall.
 9   what you testified to?                          9     Q. Was the e-mail from a lawyer or
10        A. I believe great public interest.       10 from a confidential source or --
11             The allegations were absolutely      11     A. I don't recall who originated
12    grave, and it was important that we stuck     12 it.
13    strictly to the facts.                        13      Q. And was the e-mail sent to you
14        Q. And on the first page of               14 at TheBlaze?
15    Exhibit 71, in your response at 4:57 p.m.     15     A. Yes.
16    to Mr. Weasel, the last line of your          16      Q. And was it an e-mail that you
17    response is: "Need credibility."              17 solicited or just sent to you
18             What are you referring to there?     18 independently?
19        A. Referring specifically to the          19     A. I believe that we solicited a
20    detail that we can provide in classifying     20 definition from this person and they
21    someone as a 212(3)(B), felt that we needed   21 provided it.
22    to provide as much information and            22      Q. Who was it provided to, when you
23    explanation as possible, not only as to       23 say "we"?
24    what the designation meant, but also the      24     A. I don't recall whether there was
25    process by which someone was designated in    25 anyone else on the e-mail chain besides
                                          Page 90                                        Page 92
 1             JOEL CHEATWOOD                       1           JOEL CHEATWOOD
 2   that way.                                       2 myself.
 3       Q. And what was your understanding          3    Q. Do you have any memory as to
 4   of the process by which somebody was            4 when you received that?
 5   designated under Section 212(3)(8)?             5    A. I do not.
 6       A. According to our confidential            6    Q. And the person who sent it, you
 7   sources and other experts in the area that      7 testified, was not counsel; is that
 8   we consulted, it was a tedious process that     8 correct?
 9   required the presentation of full evidence      9    A. Was not.
10    in making the accusation.                     10     Q. But you don't remember whether
11           It required the sign-off of all        11 they were a confidential source or not?
12    JTTF members in terms of the various          12     A. They were not.
13    agencies that are involved, and it also       13     Q. And you don't remember who it
14    involved the approval of a high level,        14 was?
15    usually cabinet member, to make that          15     A. I don't.
16    designation.                                  16     Q. Did they work for TheBlaze?
17        Q. And 212(3)(8) refers to what?          17     A. No.
18        A. Terrorism.                             18     Q. Mr. Cheatwood, I show you what's
19        Q. Do you have an understanding as        19 been marked as Exhibit 72 in this matter,
20    to whether or not that's a section of the     20 which is an e-mail from you to Mr. Weasel
21    United States Code or the Criminal Code or    21 on Saturday, April 20th at 5:02 p.m.
22    where that comes from?                        22          And Mr. Weasel writes to you at
23        A. I believe that's part of the           23 4:58 p.m. and says: "Is Emerson on this?
24    Criminal Code. I could be wrong.              24 Mainly going to be his source in asking
25        Q. Did you review that at all with        25 where the kid is."

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JOEL CHEATWOOD                                                                    March 24, 2016
ALHARBI vs. BECK                                                                          93-96
                                         Page 93                                            Page 95
 1             JOEL CHEATWOOD                      1               JOEL CHEATWOOD
 2           And Emerson there is Steve            2    area of terrorism, we felt it was important
 3   Emerson; is that correct?                     3    to continually get their feedback and
 4       A. That's correct.                        4    expertise in concert with the facts being
 5       Q. And your response is that you          5    provided by our confidential sources.
 6   don't know. "I think we should reach out      6        Q. Mr. Cheatwood, I show you what's
 7   to all our friends on this: West;             7    been marked previously as Exhibit 73 in
 8   Stakelbeck; Emerson, for certain; Pam         8    this action, which is an e-mail from Mr.
 9   Geller has written about it too. I may        9    Weasel to you starting at 7:35 p.m. on
10    reach out to Hannity's producer."            10    Saturday, April 20th.
11            Who is West?                         11             And Mr. Weasel's first e-mail
12       A. Diana West, an author and noted        12    says: "The only way I can get the file is
13    expert on terrorism.                         13    to fly to and take a screenshot off of a
14       Q. And Stakelbeck was Eric                14    laptop. In this case, it would be a
15    Stakelbeck; is that correct?                 15    smoking gun. Thoughts?"
16       A. That's correct.                        16             And your response to Mr. Weasel
17       Q. Emerson is Steve Emerson?              17    is: "Legal?"
18       A. Correct.                               18             Did you make a determination
19       Q. And who is Pam Geller?                 19    about whether that was legal?
20       A. Pam Geller, again, was an author       20             MR. GRYGIEL: Objection to the
21    and noted expert in the area of the Middle   21    form.
22    East and terrorism.                          22        A. I made the determination that it
23       Q. And you're referring to these          23    was not.
24    people as "our friends."                     24        Q. And how did you make that
25            What do you mean by that?            25    determination?
                                         Page 94                                            Page 96
 1             JOEL CHEATWOOD                      1                JOEL CHEATWOOD
 2       A. I meant simply people that we          2         A. Just based on my experience and
 3   have worked with in the past in terms of      3    knowledge of dealing with information like
 4   story development. They've been guests on     4    this.
 5   the shows. People that we just had a          5         Q. And after having made the
 6   history of working with.                      6    determination, did you communicate that to
 7       Q. And you write: "I may reach out        7    Mr. Weasel?
 8   to Hannity's producer."                       8         A. I did.
 9           Did you do that?                      9         Q. How did you communicate that to
10       A. As I recall, I left a voicemail.       10    him?
11        Q. And who was Mr. Hannity's             11        A. I believe it was via phone.
12    producer at the time?                        12         Q. And what did you say to him?
13       A. At the time, I believe it was          13        A. Indicated that that was not an
14    John Finley.                                 14    option for us, that we had to obtain the
15       Q. Did you consider Mr. Hannity and       15    information physically. We couldn't take
16    Mr. Finley as friends?                       16    it off of a -- basically, a government
17       A. Having worked at Fox News, they        17    terminal.
18    were acquaintances.                          18        Q. And did you obtain the
19       Q. Why was it that you wanted to          19    information physically?
20    reach out to West, Stakelbeck, Emerson,      20        A. We obtained the file, which
21    Geller and Mr. Hannity's program?            21    we've discussed, yes.
22       A. We were continually looking for        22        Q. And what, to your knowledge,
23    context and perspective to the facts that    23    made taking a screenshot of a laptop
24    we were being provided by our confidential   24    illegal, but obtaining the physical file
25    sources, and given their expertise in the    25    not illegal?

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JOEL CHEATWOOD                                                                    March 24, 2016
ALHARBI vs. BECK                                                                         97-100
                                         Page 97                                            Page 99
 1             JOEL CHEATWOOD                                      JOEL CHEATWOOD
 2           MR. GRYGIEL: Object to the             2       A. I do not.
 3   form. It also calls for a legal question       3       Q. Did you make any determination
 4   from a fact witness. But to the extent you     4   whether that statement was truthful or
 5   can answer, please feel free.                  5   accurate?
 6       A. My feeling and opinion was that         6       A. We, I remember, did not
 7   to violate the privacy of a government         7   broadcast that information, didn't get
 8   terminal would have put us in jeopardy of      8   proper confirmation.
 9   an illegality, but to be provided              9       Q. Who did you try to get
10    information and simply to be a receptive     10   confirmation from?
11    reporting entity with information being      11       A. As I recall, a variety of law
12    provided to us, would not.                   12   enforcement officers, the White House as
13        Q. And so your understanding was to      13   well, OHS. Kind of the usual sources,
14    take a screenshot of somebody's terminal     14   couldn't get a secondary confirmation.
15    would be illegal, but to have that person    15                 (Exhibit 109 for
16    print out what was on the screen and         16    identification, E-mail dated 4/20 from Mr.
17    provide it to you would not be illegal?      17   Cheatwood to Mr. Weasel, production numbers
18            MR. GRYGIEL: Object to the           18   35131.)
19    form.                                        19    BY MR. HALEY:
20        A. Our feeling was, if we were a         20       Q. Mr. Cheatwood, I show you what's
21    passive interest in receiving the            21   been marked Exhibit 109, which is a
22    information, it was fine.                    22   response to that e-mail, which we just
23        Q. What do you mean by "passive"?        23   reviewed, Exhibit 73.
24        A. Basically, we weren't physically      24            It bears the Bates stamp number
25    going after and pulling information out of   25   of 35131 from you to Mr. Weasel dated
                                         Page 98                                           Page 100
 1             JOEL CHEATWOOD                     1               JOEL CHEATWOOD
 2   what could be a private government           2     April 20th at 10:29 p.m., and you're asking
 3   terminal. We were being provided.            3     there: "Can" -- and it's redacted -- "now
 4        Q. So as a result of that               4     tell us about the family clan connections."
 5   conversation with you, Mr. Weasel did not    5             Was that the confidential source
 6   fly to D.C.?                                 6     that's redacted there?
 7       A. He did fly.                           7         A. Yes.
 8        Q. And that was to obtain the           8          Q. And the family clan connections
 9   physical file?                               9     were connections of Mr. Alharbi's family?
10        A. Yes.                                10              MR. GRYGIEL: Object to the
11        Q. And that was from the               11      form.
12    confidential source?                       12          A. That's correct.
13       A. Yes.                                 13          Q. Did your source ever provide you
14       Q. And the file he obtained was the     14      with any information regarding his family
15   Exhibit 60 and 61 that we reviewed          15      or clan connections?
16   previously; is that correct?                16          A. Our confidential sources
17       A. That's correct.                      17      provided us with general information, but
18       Q. On Exhibit 73, Mr. Weasel            18      we couldn't get specific details that made
19   states:                                     19      us comfortable with reporting that
20            "Just heard reliably that Saudi    20      information.
21   specifically requested Michelle Obama visit 21          Q. Mr. Cheatwood, I show you what's
22   Alharbi to throw off any questions of       22      been previously marked as Exhibit 74 in
23   terror."                                    23      this matter, which is an e-mail from David
24            Do you know who Mr. Weasel heard 24        Hemenway to Joe Weasel.
25   that from?                                  25              Who is David Hemenway?

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JOEL CHEATWOOD                                                                        March 24, 2016
ALHARBI vs. BECK                                                                            101-104
                                           Page 101                                            Page 103
             JOEL CHEATWOOD                           1              JOEL CHEATWOOD
 2    A.    I don't know.                             2        A. I don't recall to what extent.
 3     Q.   Did you ever see this e-mail              3        Q. And the second sentence of that
 4 before?                                            4    e-mail says: "A call is a good idea. I'm
 5    A. I have not.                                  5    drafting a note of what we know to send out
 6     Q. Mr. Cheatwood, I show you what's            6    in a few to calm nerves."
 7 been previously marked Exhibit. 75 in this         7            What were you referring to
 8 action, which is an e-mail at the top from         8    there?
 9 you to Mr. Weasel on Sunday, April 21st at         9            MR. GRYGIEL: Object to the
10 10:17 a.m.; and Mr. Weasel, at the bottom          10    form.
11 of the page, is 10:04 a.m., is writing and         11        A. My intent to draft an overview
12 says: "Do we know if we are allowed to             12    of the information that we knew to be
13 report that there has been a request for a         13    factual, along with questions that we were
14 secure briefing on this kid? It's a                14    seeking answers to.
15 critical bit of information."                      15        Q. And were people nervous?
16          What is Mr. Weasel referring to           16        A. Absolutely. Any time that
17 there, if you know?                                17    you're involved with a story of this
18          MR. GRYGIEL: Object to the                18    magnitude and at the leading edge of
19 form.                                              19    reporting, if you're not nervous, something
20     A. We had been told by one of our              20    is wrong.
21 confidential sources that the Congressional        21            There's a great desire to be
22 Homeland Security Committee had asked for a        22    accurate, to get full information, and
23 secure briefing from Janet Napolitano.             23    that's why we revisited our confidential
24      Q. And you then say: "Virginia,               24    sources at all hours of the days and night
25 can you peruse" -- or I assume you meant           25    for many, many, many weeks.
                                           Page 102                                            Page 104
 1             JOEL CHEATWOOD                                         JOEL CHEATWOOD
 2   "pursue" -- "permission on this?"                 2       Q. Mr. Cheatwood, I've handed you a
 3           Who are you asking Ms. Grace to           3   copy of what's previously been marked as
 4   pursue permission from?                           4   Exhibit 76 in this action.
 5           MR. GRYGIEL: Object to the                5            And in response to Exhibit 75,
 6   form.                                             6   on Sunday, April 21st at 10:20 a.m., Mr.
 7       A. As I recall, Virginia had                  7   Weasel writes: "They know what we have, so
 8   contacts with aides in the office of that         8   they have to try to Joe McCarthy Glenn.
 9   committee, and was seeking permission from        9            Do you know what Mr. Weasel is
10    Mr. Duncan's office to publicize that they      10    referring to there?
11    had made the request.                           11             MR. GRYGIEL: Object to the
12       Q. And at the top of Exhibit 75, at          12    form.
13    10:07, Mr. Weasel has forwarded a link to a     13        A. I believe he is referring to the
14    Daily Mirror story, and your response is:       14    effort to discredit Glenn as being a
15    "God, I wish it weren't the Daily Mirror."      15    reliable source of information.
16            Why were you saying that?               16        Q. And was that something that you
17            MR. GRYGIEL: Object to the              17    discussed with Mr. Weasel or Mr. Beck at
18    form.                                           18    anytime?
19       A. In spite of the Daily Mirror's            19        A. Not specifically, no.
20    pretty incredible track record as an            20        Q. And in response to Mr. Weasel's
21    investigative journalism platform, I was        21    statement, that "We need Duncan's guy" --
22    hoping that U.S. mainstream media outlets       22    and that refers to Congressman Duncan; is
23    would pick it up. This was a British            23    that correct?
24    publication.                                    24        A. That's correct.
25       Q. Did they ever pick it up?                 25        Q. -- "to call Jake Tapper.


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JOEL CHEATWOOD                                                                     March 24, 2016
ALHARBI vs. BECK                                                                         105-108
                                         Page 105                                           Page 107
 1             JOEL CHEATWOOD                       1              JOEL CHEATWOOD
2    think he'll do it for Virginia and get to      2    of Oz knows the answer to that question."
3    the Congressman. I think Tapper might be       3            Was this person in this e-mail,
4    more open."                                    4    to your knowledge, one of the confidential
5            Your response is:                      5    sources that you were relying on?
6            "Worth a shot. Glenn says              6            MR. GRYGIEL: Object to the
7    Tapper told him. Didn't know he reached        7    form.
8    out (DHS told him mistaken identity.)"         8        A. I have no knowledge of this
9            What conversations did you have        9    e-mail.
10    with Mr. Beck about a conversation that he    10        Q. Have you seen this before?
11    had with Mr. Tapper?                          11        A. I have not.
12            MR. GRYGIEL: Object to the            12        Q. Mr. Cheatwood, I show you what's
13    form.                                         13    previously been marked as Exhibit 78 in
14        A. He informed me that he had             14    this matter.
15    reached out to Mr. Tapper hoping to share     15            This was an e-mail that you sent
16    elements of the story and with the intent     16    up to Mr. Weasel and Tiffany Siegel on
17    of ABC News picking up the investigation.     17    Sunday at 3:35 p.m.
18        Q. And Mr. Tapper told Mr. Beck           18            Was this in preparation for a
19    that he had been told by the Department of    19    call with Mr. Beck?
20    Homeland Security that it was simply a case   20            MR. GRYGIEL: Object to the
21    of mistaken identity?                         21    form.
22        A. I don't know what Mr. Tapper           22        A. Yes, it was.
23    told Glenn. This is just what Glenn           23        Q. What was the purpose of
24    related to me.                                24    providing this information to Mr. Weasel
25        Q. To your knowledge, did Mr.             25    and Ms. Siegel?
                                         Page 106                                           Page 108
 1             JOEL CHEATWOOD                        1             JOEL CHEATWOOD
 2   Tapper ever pursue the story?                   2       A. Wanted them both to be
 3       A. I don't know.                            3   comfortable with the information to see
 4       Q. What Mr. Beck told you was that          4   what we would be discussing in terms of the
 5   Mr. Tapper told him that the Department of      5   conversation with Mr. Beck, and basically
 6   Homeland Security was saying to him that it     6   just as a guideline going forward for the
 7   was a case of mistaken identity?                7   information that we had in place.
 8           MR. GRYGIEL: Object to the              8       Q. And the information in the
 9   form.                                           9   e-mail, is that information that you typed
10        A. That's how I interpret this            10    up?
11    e-mail.                                       11        A. I did.
12        Q. And did you have any reason to         12        Q. What was the source of the
13    question Mr. Beck's accuracy in relating to   13    information?
14    you what Mr. Tapper said to him?              14        A. The source of information was
15        A. Other than I was not part of the       15    from primarily our confidential sources
16    conversation, no.                             16    through Joe Weasel.
17        Q. Mr. Cheatwood, I show you what's       17        Q. And on the top of the second
18    previously been marked as Exhibit 77 in       18    page of Exhibit 78, it has a Bates stamp
19    this action, which is an e-mail from an       19    number of 35080, it states:
20    unidentified redacted person to Mr. Weasel,   20           "Tuesday morning Secretary of
21    and Mr. Weasel is asking that person at       21    State John Kerry meets with Saudi Foreign
22    11 :51 a.m. about: "Do you know if they got   22    Minister Saud. The meeting is abruptly
23    him out of the country?"                      23    closed to the media."
24            And the person responding says:       24           What link was it that you
25            "At the moment, only the Wizard       25    thought that piece of information had to

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JOEL CHEATWOOD                                                                      March 24, 2016
ALHARBI vs. BECK                                                                          109-112
                                         Page 109                                            Page 111
 1              JOEL CHEATWOOD                      1              JOEL CHEATWOOD
 2   the investigation of Mr. Alharbi?              2    were "very scary?
 3            MR. GRYGIEL: Object to the            3            MR. GRYGIEL: Object to the
 4   form.                                          4    form.
 5       A. At that time, we didn't know            5        A. The indication from multiple
 6   what the link might be, or if there was a      6    confidential sources was there was a
 7   link at all, but it was information            7    connection to terrorism within the family.
 8   provided by confidential sources that felt     8        Q. And did you ever make any
 9   there was some connection.                     9    determination as to whether there was such
10        Q. Do you know what the basis of          10    a connection?
11    their feeling that there was a connection     11        A. We did not develop specific
12    was?                                          12    information.
13            MR. GRYGIEL: Objection.               13        Q. What general information did you
14       A. Based primarily on their                14    develop?
15    expertise in terms of dignitaries visiting    15        A. General information was just,
16    the White House and this being out of the     16    there were connections from Mr. Alharbi and
17    norm.                                         17    his family to known terrorists.
18        Q. And did you ever determine if          18        Q. And which terrorist?
19    there was any link between the information    19        A. I -- we were not given
20    reported at the top of the page here and      20    specifics.
21    the investigation of Mr. Alharbi?             21        Q. Did you ever seek to verify the
22       A. We did not.                             22    information with anyone else besides your
23        Q. With respect to the third bullet       23    confidential sources?
24    point on page 2, where it says "Wednesday,    24       A. Yes, we did.
25    President Obama has a 'chance' in-concert     25        Q. Who did you seek to verify it
                                         Page 110                                            Page 112
1              JOEL CHEATWOOD                                    JOEL CHEATWOOD
2    with Saudi Foreign Minister Saud and Saudi      2   with?
3    Ambassador Adel al-JuQeir," what                3        A. We posed the question to the
4    relationship did that fact have to do with      4   Department of Homeland Security, the FBI,
5    the investigation of Mr. Alharbi?               5   the Joint Task Force -- Joint Terrorism
6            MR. GRYGIEL: Object to the              6   Task Force, Congressional contacts.
7    form.                                           7   Anybody else we could think of.
8        A. Again, this information was              8        Q. And what was their response?
9    provided by a confidential source with          9        A. No response.
10    knowledge and information as to protocol on   10        Q. Who posed the question?
11    these matters who thought that this was       11        A. Primarily, Joe Weasel and his
12    unusual and odd, and more than a              12    staff. I believe Tom Orr on his staff was
13    coincidence.                                  13    part of the reach-out.
14        Q. Did you ever make any                  14            I don't know if there were
15    determination as to whether it was more       15    others, but those two I know.
16    than a coincidence?                           16        Q. When you say there was no
17       A. We did not.                             17    response, they just didn't answer the
18        Q. And on the third page of               18    question or made no comment or how did that
19    Exhibit 78, Bates stamp number 35081, it      19    work?
20    states: "We are told his family               20        A. Universally, no response.
21    connections are very scary."                  21        Q. I'm trying to get an
22           Who told you that?                     22    understanding of when you say "no
23       A. Confidential sources.                   23    response," was it because they didn't
24       Q. And what exactly did they tell          24    respond to a phone call, an e-mail, or was
25    you about the connections other than they     25    it because they just refused to provide an


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JOEL CHEATWOOD                                                                      March 24, 2016
ALHARBI vs. BECK                                                                          113-116
                                         Page 113                                            Page 115
 1             JOEL CHEATWOOD                                      JOEL CHEATWOOD
 2   answer or just said "no comment"?               2   was inaccurate?
 3           MR. GRYGIEL: Object to the              3           MR. GRYGIEL: Object to the
 4   form.                                           4   form.
 5       A. All of the above.                        5       A. Yes, I did.
 6        Q. On the last page of Exhibit 78,         6       Q. Were you aware that that was
 7   with the Bates stamp number 35086, you          7   what was being reported by most other news
 8   write: "There is a pattern. There is a          8   sources?
 9   relationship between the U.S. and Saudi'        9           MR. GRYGIEL: Object to the
10    Arabia the American public doesn't know       10    form.
11    about. The case of Abdul Rahman Ali           11        A. Yes. Yes, I was.
12    Alharbi is only the latest example."          12        Q. And what made you believe that
13            What's the basis of that              13    TheBlaze got the story right and all the
14    statement?                                    14    other news sources were wrong?
15        A. We had done a significant amount       15           MR. GRYGIEL: Object to the form
16    of research about the U.S. and Saudi Arabia   16    and also foundation.
17    relationship, and specifically about how      17        A. Based on the information
18    Saudi nationals were treated, how they were   18    provided by the confidential sources that
19    admitted into the country versus the          19    we had.
20    nationals of other countries.                 20        Q. Mr. Cheatwood, I show you what's
21        Q. How did the case of Mr. Alharbi        21    previously been marked as Exhibit 80 in
22    relate to that?                               22    this matter, which is an e-mail from
23        A. At the point that I drafted this       23    Patrick Poole to Virginia Grace on Sunday
24    note, we were looking at all possibilities,   24    at 6:33 p.m.
25    all questions, and looking for answers in a   25           Have you seen this before?
                                         Page 114                                            Page 116
1              JOEL CHEATWOOD                        1             JOEL CHEATWOOD
2    variety of different directions, and wanted     2        A. I have seen this.
3    to know if this relationship -- or this         3        Q. Did you see it at the time that
4    special relationship, as we determined --       4   it was authored or sent?
5    had anything to do with the government's        5        A. I don't recall.
6    treatment of Mr. Alharbi.                       6        Q. And Mr. Poole, in the first
7        Q. And did you make any                     7   sentence there, writes:
8    determination as to whether it did or did       8           "On the Saudi, my sense is that
9    not?                                            9   there are two issues, since we don't know
10        A. We couldn't definitively come to       10    in what way, if any, he was involved in the
11    that conclusion.                              11    bombing incident."
12        Q. Mr. Cheatwood, I show you what's       12            Did you agree with that
13    previously been marked as Exhibit 79 in       13    statement as of Sunday night at 6:33 p.m.?
14    this action, which at the top is an e-mail    14        A. I did not.
15    from you to Tiffany Siegel, copying Joe       15        Q. And the basis for your
16    Weasel, and it includes an earlier e-mail     16    questioning that statement were the two
17    from Tiffany Siegel on April 21st at 3:45     17    documents that you had, Exhibit 60 and 61?
18    p.m., and she makes reference to a story      18            MR. GRYGIEL: Object to the
19    with a date line "Boston," where above the    19    form. It also mischaracterizes the
20    highlighted portion, it says:                 20    testimony.
21            "He is not a suspect nor is he a      21            Mr. Cheatwood didn't say he
22    person of interest. He was an individual      22    questioned that. He said he disagreed with
23    at the marathon, and therefore, like so       23    it.
24    many individuals, has been questioned."       24            MR. HALEY: I'll rephrase the
25            Did you believe that reporting        25    question.

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JOEL CHEATWOOD                                                                      March 24, 2016
ALHARBI vs. BECK                                                                          117-120
                                         Page 117                                            Page 119
 1           JOEL CHEATWOOD                                        JOEL CHEATWOOD
2 BY MR. HALEY:                                      2   Weasel had were somehow more authoritative
 3     Q. The basis of your disagreement             3   or more accurate than Mr. Poole's sources?
4 was what?                                          4           MR. GRYGIEL: Object to the
 5     A. The information provided by                5   form.
 6 multiple confidential sources with direct         6       A. We knew for a fact that our
 7 ties to the investigation.                        7   confidential sources were directly involved
 8     Q. And the second-to-last paragraph           8   in the investigation. There was no
 9 there, in Mr. Poole's e-mail, where he says       9   indication through Mr. Weasel that Mr.
10 "Do we know what's going on in the case of       10    Poole had that access.
11 the Saudi? No, I don't think we do, but we       11        Q. Did you ever ask if Mr. Poole
12 can conclude that the official version spun      12    had that access?
13 by the Administration is far different from      13        A. I believe I asked Joe what Mr.
14 the facts that we know."                         14    Poole's resources were, yes.
15          Do you know what Mr. Poole is           15        Q. And to your knowledge, did Mr.
16 referring to there when he says "from the        16    Poole share those with Mr. Weasel?
17 facts that we know"?                             17        A. I think he shared generally who
18     A. I don't know specifically what            18    he was talking to and acknowledged, to the
19 he meant. I'm assuming he is referring to        19    best of my recollection, that they were not
20 the facts that he personally is aware of.        20    at a level that our sources were.
21      Q. And do you know if Mr. Weasel            21        Q. And your sources were directly
22 ever shared with Mr. Poole the information       22    involved in the investigation?
23 from the confidential sources?                   23        A. Yes.
24     A. I believe Mr. Weasel shared the           24        Q. And at some sort of an executive
25 basis and the facts. Did not share the           25    or supervisory level?
                                         Page 118                                            Page 120
                JOEL CHEATWOOD                       1             JOEL CHEATWOOD
 2   confidential sources, specifically.             2       A. Senior level.
 3       Q. When you said he shared the              3       Q. Were they in charge of the
 4   basis and the facts, essentially, he shared     4   investigation?
 5   the information, but not the identity of        5           MR. GRYGIEL: Objection to the
 6   the sources?                                    6   extent that disclosure of that information
 7       A. Exactly.                                 7   would call for identification of the
 8       Q. So with that information,                8   sources.
 9   though, Mr. Poole, apparently on Sunday         9       Q. What do you mean by "senior
10    evening, is still stating that as far as he   10    level"?
11    knows, you can't prove a connection between   11        A. They were in positions of
12    Mr. Alharbi and the attack?                   12    authority and had a senior status based on
13        A. Mr. Poole, without direct access       13    their experience level and performance.
14    to the confidential sources, would have no    14        Q. And they were directly involved
15    reason to necessarily just take at face       15    in the investigation?
16    value what Mr. Weasel was providing.          16        A. Our principal confidential
17            I assume he had his own sources       17    source was directly involved in the
18    that provided the information that he had.    18    investigation. The secondary -- one of the
19        Q. And do you know who Mr. Poole's        19    secondary sources had a direct link to it
20    sources were?                                 20    as well.
21        A. I do not.                              21        Q. What about the other two
22        Q. Did you ever ask him?                  22    sources?
23        A. Not specifically.                      23        A. Being kept in the loop and
24        Q. How do you make a determination        24    informed. Not specifically attached to the
25    that the confidential sources that Mr.        25    investigation.

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JOEL CHEATWOOD                                                                     March 24, 2016
ALHARBI vs. BECK                                                                         121-124
                                        Page 121                                            Page 123
 1              JOEL CHEATWOOD                      1            JOEL CHEATWOOD
 2       Q. And the primary source that you         2   expertise and his knowledge of terrorism, I
 3   testified to, that was the person that you     3   had made the suggestion that maybe he was a
 4   spoke to on the phone in April and then met    4   better guest before Mr. McCarthy.
 5   with in May?                                   5       Q. And Mr. McCarthy was Andrew
 6           MR. GRYGIEL: You can answer            6   McCarthy?
 7   that, Joel, to the extent it won't result      7       A. Yes.
 8   in the identification of the source.           8       Q. And who was he again?
 9       A. No, it was not.                         9       A. A former U.S. Attorney who
10        Q. And was that person the               10    prosecuted the first World Trade Center
11    secondary source?                            11    bombing.
12        A. No, it was not.                       12        Q. And Mr. Poole as an expert would
13        Q. So the person that you spoke to       13    be someone who was presumably going to say
14    in April and met with in May wasn't          14   that he didn't know in what way, if any,
15    directly involved in the investigation?      15    Mr. Alharbi was involved in the bombing
16        A. The person I spoke to in April        16    incident?
17    and met with in May I approached for the     17           MR. GRYGIEL: Objection.
18    specific reason of further vetting our       18           Calls for speculation.
19    primary confidential sources.                19        A. I wasn't clear specifically what
20        Q. Because that person was senior        20    information he would impart other than that
21    to your primary confidential source?         21   of his expertise in the area of terrorism.
22            MR. GRYGIEL: Same objection.         22        Q. But you're making that comment
23            You can answer to the extent it      23   after receiving his e-mail of 6:32 p.m.;
24    will not result in disclosure of the         24    right?
25    source's identification.                     25        A. Right.
                                        Page 122                                            Page 124
 1               JOEL CHEATWOOD                     1             JOEL CHEATWOOD
 2        A. That person had a very close           2       Q. Did you have some reason to
 3   knowledge of the confidential sources, the     3   believe in the 10 minutes between 6:32 and
 4   role they served in their respective           4   6:42 that what Mr. Poole would say would be
 5   organizations and their access and ability     5   inconsistent with his e-mail?
 6   to gain information.                           6           MR. GRYGIEL: Objection.
 7        Q. Mr. Cheatwood, I show you what's       7       A. To the best of my recollection,
 8   marked as Exhibit 81, which at the top is      8   I was basing it on just the breadth of
 9   an e-mail from you to Tiffany Siegel and       9   information that he would be able to
10    Joe Weasel on Sunday at 6:42 p.m.            10    provide versus the breadth of information
11             It's forwarding Mr. Poole's 6:32    11    that Mr. McCarthy would be able to provide.
12    p.m. e-mail, and your response to that       12        Q. Directing your attention to the
13    e-mail to Ms. Siegel and Mr. Weasel is:      13    second page of Exhibit 81, the first e-mail
14            "Maybe Poole is better than          14    there is from Virginia Grace at 5:54 p.m.,
15    McCarthy tomorrow. See below."               15    and she writes:
16            What did you mean by that?           16            "Hi, Patrick - looking forward
17            MR. GRYGIEL: Object to the           17    to seeing you tomorrow. Would love to know
18    form. You can answer.                        18    your thoughts on the latest on the Saudi
19        A. I don't recall specifically the       19    national (if you have it) and the
20    -- to the best of my recollection, we were   20    connections of the bombers to radical Islam
21    just talking about who could express most    21    (also hearing they were connected to a
22    broadly the information to provide expert    22    12-person sleeper cell.)"
23    commentary on the story that we were         23            At that point, did you have any
24    providing.                                   24    information about Mr. Alharbi's connection
25            I believe based on Mr. Poole's       25    to a sleeper cell?


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JOEL CHEATWOOD                                                                     March 24, 2016
ALHARBI vs. BECK                                                                         125-128
                                         Page 125                                           Page 127
 1           JOEL CHEATWOOD                       1                JOEL CHEATWOOD
 2          MR. GRYGIEL: Object to the            2      the ISB, the Islamic Society of Boston, and
 3   form.                                        3      their connections to terrorism.
 4       A. To the best of my recollection,       4              And in looking at the evidence
 5   our confidential sources at this time were   5      and connecting those dots, he came to the
 6   indicating that the activities in Boston     6      definitive conclusion that Mr. Alharbi
 7   would have extended beyond the Tsaernaev 7          would have been the financier and most
 8   brothers. That this had to be an             8      likely organizer of this event.
 9   operation, not just a two-person event.      9          Q. When you say "would have been,"
10        Q. What information did you have       10       is that something that he just supposed or
11    that Mr. Alharbi was connected to the      11       something that he had evidence of?
12    Tsaernaev brothers?                        12           A. This was --
13        A. According to our confidential       13               MR. GRYGIEL: Object to the
14    sources, and based on the evidence that    14       form. You can answer.
15    they had access to and provided to us, Mr. 15           A. This was based on the evidence,
16    Alharbi did not detonate the bombs, but    16       his expertise in knowing how these things
17    they believed had funded and organized the 17       work, and his expansive knowledge on,
18    effort.                                    18       specifically, the Boston situation through
19        Q. What did they tell you about his    19       the ISB.
20    funding and organizing the effort?         20           Q. And what information did you
21            MR. GRYGIEL: Objection.            21       have connecting Mr. Alharbi to the Islamic
22            At what point in time?             22       Society of Boston?
23            MR. HALEY: At any point in         23           A. According to our confidential
24    time.                                      24       source, he was known to be a member of the
25        A. The initial indication was that     25       Roxbury mosque, which was part of the ISB.
                                         Page 126                                           Page 128
 1              JOEL CHEATWOOD                       1            JOEL CHEATWOOD
 2   since he had not been the detonator of the      2       Q. Other than the Roxbury mosque,
 3   bombs physically, but had been classified       3   what information did you have?
 4   as a terrorist, 212(3)(B), and knowing,         4           MR. GRYGIEL: Object to the
 5   with knowledge that they had in terms of        5   form.
 6   how these terror cells work, that Mr.           6       A. The information came strictly
 7   Alharbi's work would have been the              7   from the confidential source who had
 8   financier and potentially the recruiter and     8   expertise in this area, and with the
 9   organizer.                                      9   evidence, made a definitive conclusion that
10        Q. Other than his classification as       10    this was the case.
11    what you refer to, 212(3)(B), and a general   11           MR. HALEY: Off the record.
12    knowledge of how terror cells work, was       12           (A luncheon recess was taken
13    there any specific knowledge or evidence      13    from 12:23 p.m. to 1 :18 p.m.)
14    that you're aware of that connected Mr.       14
15    Alharbi to activities about supporting or     15
16    funding the attacks?                          16
17             MR. GRYGIEL: Object to the           17
18    form.                                         18
19        A. Again, are we talking about a          19
20    specific time or in general?                  20
21        Q. In general.                            21
22        A. Yes. The principal confidential        22
23    source is a leading expert in antiterrorism   23
24    and terrorism cells in this country, and,     24
25    in fact, since 2009 has studied in-depth      25


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JOEL CHEATWOOD                                                                   March 24, 2016
ALHARBI vs. BECK                                                                       129-132
                                       Page 129                                            Page 131
 1                JOEL CHEATWOOD                   1              JOEL CHEATWOOD
 2        AFTERNOON SESSION                        2   understandable and clear and explaining
 3        (Time Resumed: 1:18 p.m.)                3   fully the facts that we were presenting.
 4               JOEL CHEATWOOD,                   4       Q. Did this sentiment that Mr.
 5   resumed and testified as follows:             5   Burguiere expressed, is this in response to
 6   CONTINUED EXAMINATION                         6   the inquiry -- "How are you feeling about
 7   BY MR. HALEY:                                 7   this story?" "Not wonderful." -- was that
 8        Q. Mr. Cheatwood, I show you what's      8   something that he expressed at the time of
 9   been marked previously in this matter as      9   the meeting?
10    Exhibit 82, which is an e-mail from Dan     10             MR. GRYGIEL: Object to the
11    Andros to Stu Burguiere.                    11    form.
12              Who is Mr. Andros?                12        A. Not that I recall, no.
13        A. Mr. Andros is a writer on            13        Q. Did anybody else express similar
14    Glenn's television program.                 14    concerns about whether or not you should go
15        Q. How about Mr. Burguiere?             15    forward with the story?
16        A. The executive producer and           16        A. No. The only concerns were that
17    co-host of the radio program.               17    we presented in a clear and completely
18        Q. And starting at 7:01 a.m. in the     18    factual fashion.
19    morning, Mr. Andros is writing to Mr.       19        Q. Did you have any conversations
20    Burguiere, asking: "How are you feeling     20    with Mr. Beck in which you expressed any
21    about this story now?"                      21    personal concerns about the story?
22              And Mr. Burguiere responds, the   22        A. No concerns about the validity
23    first line, at 8:02 a.m.:                   23    or the facts presented, no.
24              "Not wonderful. It seems like     24                 (Exhibit 110 for
25    it will translate in a difficult to         25    identification, Series of e-mail messages,
                                       Page 130                                            Page 132
 1              JOEL CHEATWOOD                    1               JOEL CHEATWOOD
 2   understand set of accusation."               2    including e-mail from Mr. Cheatwood to
 3            And then Mr. Andros responds in     3    Messrs. Weasel, Hall & Baker, production
 4   kind at 9:36 a.m.:                           4    numbers 35260 through 35261.)
 5            "Yeah, we were talking after the    5    BY MR. HALEY:
 6   meeting, and I said I think as long as we    6         Q. Mr. Cheatwood, I show you what's
 7   minimize them connecting the dots and just    7   been marked as 110, a series of e-mail
 8   point out the facts that we were being        8   messages, Bates stamps 35260 and 35261.
 9   told, I think it can be strong."              9            In the middle of the page, there
10             Was there a meeting Monday         10    is a message from you to Joe Weasel, Glen
11    morning to discuss this story?              11    Hall and Scott Baker saying that:
12             MR. GRYGIEL: Object to the         12             "You can use this information.
13    form.                                       13    I like the idea of providing their take and
14        A. To the best of my recollection,      14    attaching our questions in terms of the TV
15    yes.                                        15    show."
16        Q. Were you part of that?               16             And this is in response to Mr.
17        A. I believe so.                        17    Weasel's e-mail, with the subject line of
18        Q. Were Mr. Andros and Mr.              18    which is "On background from Sara."
19    Burguiere present at that meeting?          19             Sara was who?
20        A. I believe they were.                 20         A. I believe this is Sara Carter.
21        Q. Was there some concern expressed     21         Q. And where he says:
22    at the meeting about the story as it        22             "Just heard from Sara, whose
23    related to Mr. Alharbi?                     23    been working her sources inside the" -- and
24        A. The only concern that I recall       24    that indication there is redacted.
25    being expressed was making it               25             Do you know where that was?


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JOEL CHEATWOOD                                                                      March 24, 2016
ALHARBI vs. BECK                                                                          133-136
                                         Page 133                                            Page 135
 1               JOEL CHEATWOOD                     1              JOEL CHEATWOOD
 2       A. I believe it was the FBI.               2        Q. The sources that you had you
 3            MR. GRYGIEL: Just so the record       3    believed were more credible than sources at
 4   is clear, I believe that that redaction was    4    the FBI that Sara had?
 5   incorrect in terms of the identification of    5        A. The confidential sources that we
 6   a confidential source.                         6    had we believe had direct access to the
 7            That was relied on by TheBlaze        7    investigation in Boston. We believe Sara's
 8   personnel for the broadcast at issue in the    8    sources did not.
 9   case.                                          9        Q. When you say you believe they
10    BY MR. HALEY:                                 10    had direct access, did you know that they
11        Q. So on further down the page            11    had direct access?
12    there, the next redaction, which says         12        A. Yes, we did.
13    "'blank' officials," that would be FBI        13        Q. And how did you know they had
14    officials?                                    14    direct access?
15        A. I believe that's true.                 15        A. Through the documentation they
16        Q. So then she goes on.                   16    provided, the information they provided,
17             It says: "FBI officials (who         17    through the further vetting of their
18    she's known for many years) tell her that     18    accessibility and access to that
19    Alharbi was placed on the no-fly list,        19    information that I did independently.
20    terror watch-list, after he was detained as   20        Q. Did those sources ever appear
21    a person of interest.                         21    publicly anywhere else?
22             "This was done as a precaution       22            MR. GRYGIEL: You can only
23    before they had determined whether he was     23    answer that if it won't -- you're talking
24    more than a witness from the scene of the     24    about his confidential sources, Peter?
25    crime."                                       25            MR. HALEY: Yes.
                                         Page 134                                            Page 136
1               JOEL CHEATWOOD                       1              JOEL CHEATWOOD
2             Why did you discount that              2            MR. GRYGIEL: First of all, do
3    information?                                    3   you know?
4             MR. GRYGIEL: Object to the            4             THE WITNESS: I do not.
5    form.                                           5            MR. GRYGIEL: So I guess that
6        A. We took this information back to         6   avoids the problem.
7    our confidential sources, checked against       7            MR. HALEY: Good lawyering.
8    their facts, and with their connection to       8   BY MR. HALEY:
9    the case, and found this not to be the          9       Q. And when Mr. Beck spoke about
10    case.                                         10    Mr. Alharbi's involvement, based on the
11             Again, we also determined that       11    confidential sources, did you make any
12    Sara's contacts at the FBI did not have a     12    effort to script the program or direct Mr.
13    direct connection to the Boston bombing       13    Beck as the talent to also include the fact
14    itself, whereas our confidential sources      14    that sources within the FBI were saying
15    did.                                          15    that this was not the case?
16        Q. And so your FBI sources you            16            MR. GRYGIEL: Object to the
17    relied on more than Sara's FBI sources?       17   form.
18             MR. GRYGIEL: Object to the form      18       A. Yes. To the best of my
19    of the question. And in his answer, Mr.       19    recollection, we actually presented the --
20    Cheatwood did not identify the agency at      20   every response that the U.S. government
21    which the confidential sources he was         21    made to the accusations that we were
22    relying on were employed.                     22    making.
23             MR. HALEY: Well, I'll rephrase       23       Q. Mr. Cheatwood, I show you what's
24    the question then.                            24   been previously marked as Exhibit 83 in
25    BY MR. HALEY:                                 25   this action. It's an e-mail from Virginia


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JOEL CHEATWOOD                                                                     March 24, 2016
ALHARBI vs. BECK                                                                         137-140
                                        Page 137                                            Page 139
                 JOEL CHEATWOOD                                    JOEL CHEATWOOD
 2   Grace to you on Monday at 3:38 p.m.            2   product as a result of that?
 3            And this is forwarding that same      3            Did you receive an opinion or a
 4   e-mail -- it's not clear to me in the          4   treatus or anything else as a result from
 5   middle of the page there, 2:02 p.m. --         5   those experts?
 6   where Virginia Grace is thanking you for       6            MR. GRYGIEL: Object to the
 7   forwarding the e-mail, and then you say:       7   form.
 8   "Would love to hear what they say."            8       A. The only thing that I recall is
 9            What are you referring to there?      9   I recall seeing an e-mail. I'm not sure if
10             MR. GRYGIEL: Object to the          10    it was directed to me initially or I was
11    form.                                        11    copied on it, that outlined the explanation
12       A. I don't recall what that was in        12    of 212(3)(B).
13    reference to.                                13                 (Exhibit 111 for
14       Q. At the top of the page,                14    identification, Series of e-mail messages,
15    Ms. Grace's e-mail says, in reference to a   15    including e-mail from Mr. Baker to Mr.
16    conversation with Andy McCarthy,             16    Cheatwood, cc to Messrs. Hall & Weasel,
17    parenthetically, it says:                    17    production numbers 36227 through 36228.)
18             "In terms of processing             18    BY MR. HALEY:
19    212(3)(B) classification, Department of      19        Q. Mr. Cheatwood, I show you what's
20    Homeland Security wasn't created when Andy   20    marked as Exhibit 11, which is a series of
21    was prosecuting, so he doesn't know the      21    e-mail messages with the Bates stamps 36227
22    label firsthand.                             22    and 36228, and at the top there's an e-mail
23             "Steve Emerson said the             23    from Scott Baker to you, copying Mr. Hall
24    Department of Homeland Security file has a   24    and Mr. Weasel.
25    prior event number on it, is a code.         25            Who is Mr. Baker referring to
                                        Page 138                                            Page 140
 1              JOEL CHEATWOOD                      1               JOEL CHEATWOOD
 2   Doesn't know what it meant and what            2   there where he says: "And if Starnes is
 3   transpired beforehand."                        3   right, that he stands by the story, which
 4            Did you make an effort to             4   he told Billy too."
 5   determine from somebody other than Mr.         5       A. I believe he is referring to
 6   McCarthy or Mr. Emerson the significance of    6   Todd Starnes, who was a digital reporter
 7   the 212(3)(B) classification?                  7   for foxnews.com.
 8            MR. GRYGIEL: Object to the            8       Q. And who is Billy?
 9   form.                                          9       A. Billy, I believe he's referring
10        A. Yes, we did.                          10    to Billy Hallowell, who is a writer for
11        Q. And that was by contacting your       11    theblaze.com.
12    confidential sources?                        12        Q. Mr. Cheatwood, I show you what's
13        A. Primarily, confidential sources.      13    been previously marked as Exhibit 84 in
14             Also, other experts in the          14    this action, a series of e-mail messages.
15    field, including a couple of academic        15             In the middle of the page,
16    professors who actually specialize in this   16    there's an e-mail from you to Joe Weasel
17    part of the law. I don't recall who they     17    dated Monday, April 22nd at 3:52 p.m., and
18    were and I didn't make the direct contact.   18    the subject is "On background from Sara,"
19        Q. Who made the direct contact?          19    and you're asking Mr. Weasel:
20        A. I believe Joe Weasel's team.          20            "Have you been able to share
21        Q. When you say "Joe Weasel's            21    with Sara what your sources are saying and
22    team," who is included in that?              22    the level of confidence you have in them?"
23        A. That would be Tom Orr, Ryan Cost      23            Do you know if Mr. Weasel did
24    and Nick Jones and Kate Wilke.               24    that?
25        Q. Was there any written work            25        A. Yes, I believe he did.


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JOEL CHEATWOOD                                                                      March 24, 2016
ALHARBI vs. BECK                                                                          141-144
                                         Page 141                                            Page 143
1               JOEL CHEATWOOD                       1              JOEL CHEATWOOD
2        Q. And Mr. Weasel says:                     2            In the very beginning, they
3            "Yes, but that's what we were           3   didn't know exactly the role, but that
4    reviewing tomorrow, so I can go over all my     4   became apparent and specific over a period
5    notes and show her."                            5   of time. I don't think they became more
 6           So that review would have been          6   sure. I think they collected more evidence
 7   on Tuesday, April 23rd; is that correct?        7   that supported the finding.
 8            MR. GRYGIEL: Object.                   8       Q. But at this point, on Monday,
 9           Calls for speculation.                  9   April 22nd at 4:05 p.m., you are, based on
10       A. I would have no way of knowing          10    the confidential sources, sure that Mr.
11    that for sure based on the e-mail. I would    11    Alharbi had a role in funding the Boston
12    assume that to be.                            12    Marathon attacks?
13       Q. At the top of the page, your            13        A. Yes. At this time, our
14    message to Mr. Weasel at 4:05 p.m. on         14    confidential sources were adamant that he
15    Monday, April 22nd, is:                       15    had a role in funding and organizing.
16            "Still feel solid or did we jump      16        Q. And they had been adamant as of
17    the gun?"                                     17    what date?
18            Did you have some concern that        18             MR. GRYGIEL: If you know.
19    TheBlaze had jumped the gun in reporting      19        A. I really don't know the exact
20    the story?                                    20    date.
21            MR. GRYGIEL: Object to the            21        Q. I direct your attention to
22    form.                                         22    Exhibit 68, and the second tab there, which
23       A. I did not.                              23    is a transcript from Monday, April 22,
24            In fact, this was a question          24    2013, and my question relates to page 23 of
25    that I asked in a variety of different ways   25    the transcript, which bears the Bates stamp
                                         Page 142                                            Page 144
 1              JOEL CHEATWOOD                       1             JOEL CHEATWOOD
 2   of Mr. Weasel, and all of those involved        2   number 294.
 3   with the story many, many times throughout      3            There, at the top of the page,
 4   the process.                                    4   Mr. Beck says to Mr. Burguiere:
 5            In my years of experience, what        5           "Stu - you know we are working
 6   I've always been able to do with this sort      6   with people at very high levels, and those
 7   of investigative story is challenge those       7   people are being threatened with 20 years
 8   who are working on it, and ensuring that        8   in prison. 20 years in prison for trying
 9   their confidence level remains high, that       9   to alert the press."
10    we're not missing anything, and this was      1O            Were you aware, Mr. Cheatwood,
11    what I was doing with Mr. Weasel.             11    that the confidential sources were being
12         Q. At this point, had your               12    threatened with 20 years in prison?
13    confidential sources told you that Mr.        13            MR. GRYGIEL: Again, you can
14    Alharbi was involved in directing and         14    answer the question, Joel, if you're
15    funding the Boston Marathon attacks?          15    comfortable in doing so, you won't be
16        A. At this time, they believed he         16    identifying the source or sources.
17    was involved in funding and organizing.       17       A. We had been alerted from our
18        Q. Did their statements to you            18    confidential sources that there could be
19    about Mr. Alharbi's involvement change at     19    ramifications. They were not specific to
20    all during this period? Did they become       20    us, necessarily, as to length of time, but
21    more sure or less sure at a certain point     21    that there could be ramifications beyond
22    in time?                                      22    their termination.
23        A. I would say they, from the             23       Q. And directing your attention to
24    beginning, knew that there was involvement    24    page 38 of the transcript, at the bottom of
25    without a shadow of a doubt.                  25    the page there, Mr. Beck, starting on line

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JOEL CHEATWOOD                                                                     March 24, 2016
ALHARBI vs. BECK                                                                         145-148
                                        Page 145                                            Page 147
                JOEL CHEATWOOD                      1          JOEL CHEATWOOD
 2   21, says:                                      2 government was engaging in a disinformation
 3            "Because I think it would have        3 campaign about this story?
 4   been much better if CNN, ABC and NBC would     4         MR. GRYGIEL: Object to the
 5   have broken this, and I also think it would    5 form.
 6   have been much better if the federal           6    A. The information provided by our
 7   government would have come out."               7 confidential sources who were directly
 8            Did you make efforts, Mr.             8 connected to the investigation was in
 9   Cheatwood, to get CNN, ABC and NBC to go       9 direct contrast to what the U.S. government
10    with this story?                             10 was putting out in terms of their
11             MR. GRYGIEL: Objection.             11 information.
12             Asked and answered. You can         12         We would take every reason,
13    answer.                                      13 excuse, remedy to the situation the U.S.
14         A. We specifically reached out to       14 government would provide back to our
15    ABC. I don't recall whether or not we made   15 confidential sources, who would refute and
16    specific overtures to CNN and NBC.           16 disprove it through the evidence that they
17         Q. And those outlets did not            17 had direct access to.
18    proceed with the same story; is that         18     Q. And towards the bottom of the
19    correct?                                     19 page, on page 40, on line 17, Mr. Beck
20         A. I don't know exactly to what         20 says: "But the first one was caught on
21    extent they covered the story.               21 Monday, and we don't know at this point.
22         Q. On the next page of the              22 can speculate, but I won't at this hour. I
23    transcript, page 39, Mr. Beck states on      23 can speculate, and I bet you can draw your
24    line 3: "By Wednesday afternoon, we knew     24 own conclusions as well as how he was
25    it to be true." So that would have been on   25 involved, but we do know that he was
                                        Page 146                                            Page 148
 1           JOEL CHEATWOOD                                        JOEL CHEATWOOD
 2 April 17th.                                     2    involved."
 3         Is that consistent with your            3            So was there some uncertainty on
 4 memory of what you knew about Mr. Alharbi's     4    Monday, April 22nd about the nature of Mr.
 5 involvement?                                    5    Alharbi's involvement?
 6         MR. GRYGIEL: Object to the              6            MR. GRYGIEL: Object to the
 7 form.                                           7    form.
 8    A. To the best of my recollection,            8       A. As of April 22nd, we knew that,
 9 by Wednesday afternoon, we had a -- what I       9   according to our confidential sources, his
10 would term as a critical mass of evidence       10    involvement had been as fundraiser and
11 through our confidential sources that           11    organizer.
12 definitively pointed to Mr. Alharbi.            12        Q. Do you know why Mr. Beck is
13     Q. And pointed to him as somebody           13    saying "We don't know how he was involved"?
14 who funded the Boston Marathon attacks?         14        A. I do not.
15     A. Definitively pointed to his              15        Q. Directing your attention to page
16 involvement, most likely as the funder          16    49 of the transcript, there on line 12, Mr.
17 and/or organizer.                               17    Beck is saying: "Our president of
18     Q. At the bottom of the page 39,            18    information and content and news on
19 Mr. Beck says on line 25:                       19    TheBlaze, not only did he reach out inside
20          "And now the government is out         20    of these monolithic corporations of the
21 and out lying to you. They are engaging in      21    mainstream media and say, 'Guys, you know
22 a disinformation campaign to discredit and      22    me, this is right."'
23 destroy."                                       23            Is that you, Mr. Cheatwood?
24          What information did you have on       24            Were you, in fact, at this time,
25 April 22nd that the United States               25    in April of 2013, the president of

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JOEL CHEATWOOD                                                                     March 24, 2016
ALHARBI vs. BECK                                                                         149-152
                                         Page 149                                           Page 151
 1              JOEL CHEATWOOD                       1              JOEL CHEATWOOD
 2   information and content as TheBlaze?            2   background, and they were adamant about
 3            MR. GRYGIEL: Object to the             3   that, without being completely specific as
 4   form.                                           4   to what branches of terrorism.
 5       A. He is referring to me.                   5       Q. Were you aware that Alharbi was
 6       Q. Did you have a conversation with         6   a very common name within Saudi Arabia?
 7   people within the mainstream media              7       A. Yes, we were.
 8   referring to: Guys, you know me. This is        8       Q. But you believed there was
 9   right?                                          9   information that connected Mr. Alharbi's
10        A. As I've previously stated, the         10    direct family to terrorists that were a
11    approach was made to the Wall Street          11    part of al Qaeda?
12    Journal. The approach -- not by me            12            MR. GRYGIEL: Object to the
13    directly -- to ABC, but I definitively did    13    form.
14    talk to the Wall Street Journal and made an   14        A. Based on our confidential
15    overture to Fox News.                         15    sources, that was the case, yes.
16        Q. But you don't remember who you         16        Q. What did your confidential
17    talked to at The Wall Street Journal;         17    sources tell you about those links?
18    right?                                        18        A. Did not specify, again, as to
19             MR. GRYGIEL: Objection.              19    what branch of terrorism or what group
20        A. No.                                    20    necessarily specifically he had the links
21        Q. And the overture to Fox News is        21    to, but indicated there was a family
22    you left a voicemail message with Mr.         22    history and a connection to known
23    Hannity's producer?                           23    terrorists.
24        A. That's correct.                        24        Q. Directing your attention to page
25        Q. What does Mr. Beck mean by the         25    80 of the transcript, the Bates stamp
                                         Page 150                                           Page 152
 1             JOEL CHEATWOOD                        1             JOEL CHEATWOOD
 2   word "mainstream media," do you know?           2   number 351 in the lower right-hand corner,
 3      A. Generally speaking, the                   3   there, on line 9, Mr. Beck is talking about
 4   mainstream media --                             4   the staff, saying:
 5           MR. GRYGIEL: Objection.                 5           "They've been working around the
 6           You can answer if you can read          6   clock. They are very tired."
 7   Glenn's mind.                                   7           And says on line 11:
 8      A. I don't know exactly what his             8           "We are very short-staffed."
 9   definition is.                                  9           Was that true, that the staff at
10            The mainstream media commonly is      10    TheBlaze was less than what it needed to
11   the primary broadcast and cable news           11    be?
12    networks and publications.                    12            MR. GRYGIEL: Object to the
13       Q. Directing your attention on page        13    form.
14   57 of Exhibit 68, and the Bates stamp          14        A. For the purposes of reporting
15   number 328, continuing with the transcript     15    this story, no. We had confidential
16   from Monday, April 22nd, there on 12, Mr.      16    sources that gave us access that no other
17   Beck says: "Abdul Rahman Ali Alharbi, his      17    media outlet had directly to the
18   clan is heavy with al Qaeda links."            18    investigation.
19            What information did you have on      19        Q. Why was it that you thought the
20    Monday, April 22nd that Mr. Alharbi and his   20    confidential sources were speaking to you
21   relatives were linked to people who were       21    instead of other media outlets?
22   part of al Qaeda?                              22            MR. GRYGIEL: Objection.
23       A. Our confidential sources had            23        A. I can't answer that. I don't
24   consistently told us that there were links     24    know.
25   to terrorism in his family and in his          25        Q. Mr. Cheatwood, I show you what's


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JOEL CHEATWOOD                                                                     March 24, 2016
ALHARBI vs. BECK                                                                         153-156
                                         Page 153                                            Page 155
 1             JOEL CHEATWOOD                       1              JOEL CHEATWOOD
 2   been marked as Exhibit 85 in this action,      2        Q. Mr. Cheatwood, I show what's
3    which is an e-mail from you to Joe Weasel      3    marked as Exhibit 87, which is a
 4   on Monday evening, April 22nd at 6:53 p.m.,    4    continuation of the earlier e-mails.
 5   forwarding a message from Mr. Beck in which    5            The e-mail where Mr. Baker is
 6   he is reporting something on Twitter that      6    running copy by you at 6:52 is then
 7   appears to be information reported from        7    forwarded by you at 7:16 back to Mr. Baker,
 8   Brett Baier at Fox News; is that correct?      8    Joe Weasel and Glen Hall.
 9           MR. GRYGIEL: Object to the             9            And then you're sending an
10    form.                                         10    e-mail at 8:10 p.m. on the first page of
11       A. I believe that's correct.               11    the exhibit, to Mr. Weasel:
12       Q. Do you know why Mr. Beck was            12            "Sent you the Tweet. We need to
13    concerned with that?                          13    have someone Tweet and ask who they are.
14           MR. GRYGIEL: Objection.                14    He's buying mistaken identity. Wasn't that
15       A. To the best of my recollection,         15    last week's excuse? Can Duncan's office
16    Mr. Baier had issued a Tweet that talked      16    explain?"
17    about the documents regarding Mr. Alharbi     17            The "Duncan" that you're
18    and indicated he had been told it was a       18    referring to there is Congressman Duncan?
19    case of mistaken identity.                    19            MR. GRYGIEL: Object to the
20       Q. Did you believe Mr. Baier was           20    form.
21    wrong in that instance?                       21        A. Yes, that's correct.
22       A. Yes, I did.                             22        Q. And the Tweet you're referring
23       Q. Mr. Cheatwood, I show you what's        23    to there, is that the Tweet from Mr. Baier?
24    been marked as Exhibit 86, which is an        24        A. Yes, it is.
25    e-mail from Scott Baker to you, copy to Joe   25        Q. So Mr. Weasel is asking: "Who
                                         Page 154                                             age 156
 1              JOEL CHEATWOOD                       1             JOEL CHEATWOOD
 2   Weasel and Glen Hall, and he says:              2   is our Twitter person?"
 3            "He's running Jason's copy by          3           And then you respond by saying:
 4   you before we publish."                         4           "Sara Johnson, but she's easily
 5            There's a redaction there on           5   traceable. Better have someone like Tom
 6   line 3 where it says: "The Saudi national       6   O'Ryan Tweet and see what he says. I
 7   who was initially a person of interest in       7   thought Duncan's guy talked to Brett."
 8   the Boston bombings was placed on a no-fly      8           Who is "Duncan's guy"?
 9   list or terror watch-list after he was          9           MR. GRYGIEL: Object to the
10    detained, and before federal authorities      10    form.
11    determined whether he was involved in the     11       A. I don't recall what his guy's
12    attack or just a mere witness."               12    name was.
13             Do you know who that is?             13        Q. But what was his relationship to
14             MR. GRYGIEL: Same objection          14    Congressman Duncan?
15    again, if the answer requires                 15       A. My understanding was, he was a
16    identification of a confidential source.      16    top aide in the Congressman's office.
17        A. I do not.                              17        Q. And why were you concerned with
18        Q. Do you know if this information        18    whether or not a Tweet from Ms. Johnson
19    was published by TheBlaze?                    19    would be traceable?
20        A. I believe it was, yes.                 20       A. At that point, we wanted to
21             MR. GRYGIEL: When you say            21    reach out to Brett to have him tell us who
22    "TheBlaze," we're talking about the           22    he was quoting in terms of his information,
23    website?                                      23    and we felt that we wanted to do it without
24             MR. HALEY: The website.              24    bringing any attention that might be
25        A. Yes.                                   25    negative for him.

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JOEL CHEATWOOD                                                                     March   24, 2016
ALHARBI vs. BECK                                                                           157-160
                                         Page 157                                            Page 159
 1              JOEL CHEATWOOD                       1             JOEL CHEATWOOD
 2       Q. And why would a Tweet from               2       A. No.
 3   Ms. Johnson be negative for Mr. Baier?          3       Q. And wouldn't that be part of
 4       A. Because Tweets are public. We            4   producing the news, though, would be to
 5   didn't want to start anything from a public     5   attract more viewers to the website, the
 6   standpoint. We had hoped to just reach out      6   radio program, the television program?
 7   to him privately and try to get the source      7           MR. GRYGIEL: Objection.
 8   of his information.                             8       A. At this point in time,
 9       Q. What would prevent you from              9   viewership and the levels of viewership
10    simply calling Mr. Baier and asking him       10    were the least of my concerns.
11    that?                                         11        Q. At some point in time, were they
12        A. I believe, to the best of my           12    a greater concern?
13    recollection, a call was placed, was not      13        A. Not in the case of this story,
14    successful. We didn't reach him. We were      14    no.
15    looking for alternative means to reach him.   15        Q. TheBlaze is a for-profit entity;
16        Q. Your e-mail back to Mr. Weasel         16    correct?
17    at 8: 15 p.m. says:                           17        A. Yes, it is.
18            "Ugh. Feel like we're pushing         18        Q. And the more people who
19    the boulder up the hill and a bunch of        19    subscribe to it or view it, the greater its
20    people keep jumping on for the ride."         20    economic portions will be?
21            What did you mean by that?            21        A. Theoretically, yes.
22        A. At this point, the government          22        Q. When you say "theoretically," is
23    was changing their story and putting out      23    there some reason why practically that
24    what we regarded, based on our confidential   24    wouldn't be the case?
25    sources, as pure misinformation and           25        A. There are a variety of aspects
                                         Page 158                                            Page 160
                JOEL CHEATWOOD                       1          JOEL CHEATWOOD
 2   disinformation to the point that we were        2 and conditions that go into running a
 3   spending an enormous amount of time             3 business, a media business.
 4   disproving the assertions that the              4         Additional subscriptions of
 5   government was offering. And it felt like       5 viewership or readership doesn't always
 6   we were pushing the boulder up the hill in      6 translate into pure profit.
 7   trying to keep pace with the disinformation     7     Q. But it generally does translate
 8   they were providing.                            8 into greater revenue; is that correct?
 9       Q. When you say "The problem is, we         9     A. Greater cash flow. Not
10    can't maintain momentum," what did you mean   10 necessarily revenue.
11    by that?                                      11     Q. What does the difference between
12        A. In a story like this, where it's       12 cash flow and revenue mean?
13    unfolding and continuing to be organic in     13     A. Well, net revenue.
14    terms of its development, you want to         14     Q. So income?
15    create new information, develop new           15         What I meant by revenue is cash
16    information through facts and try to expand   16 in, and income being the profit part of
17    upon the information you have.                17 that.
18            It was difficult to maintain          18         MR. GRYGIEL: Object to the
19    that effort because we were spending so       19 form.
20    much time going back to our confidential      20     A. Well, it can result in greater
21    sources with the various elements of          21 overall cash flow; not necessarily net
22    misinformation and disinformation being put   22 revenue, depending on circumstances.
23    out by the government.                        23              (Exhibit 112 for
24        Q. And by "momentum," did you also        24 identification, E-mail from Mr. lglar to
25    mean viewership?                              25 Mr. Cheatwood.)


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JOEL CHEATWOOD                                                                     March 24, 2016
ALHARBI vs. BECK                                                                         161-164
                                         Page 161                                           Page 163
               JOEL CHEATWOOD                        1             JOEL CHEATWOOD
 2   BY MR. HALEY:                                   2   never a subject -- he was never even really
 3       Q. Mr. Cheatwood, I show you what's         3   a person of interest.
 4   marked as Exhibit 112, which is an e-mail       4           "Because he was being
 5   from Mark lglar to you on Monday,               5   interviewed, he was at that point put on a
 6   April 22nd at 10:58 p.m.                        6   watch-list. And then when it was quickly
 7           Who is Mr. lglar?                       7   determined he had nothing to do with the
 8       A. At that point, Mr. lglar was the         8   bombing, the watch-listing status was
 9   chief security officer from Gavin de Becker     9   removed."
10    attached to Glenn Beck.                       10            Did you become aware of this
11        Q. Who is Gavin de Becker?                11    testimony by Secretary Napolitano?
12        A. Gavin de Becker is the name of a       12        A. Yes.
13    person and also a security firm that          13        Q. And did you believe it to be
14    provided security for Mr. Beck.               14    inaccurate?
15        Q. And was Mr. lglar, part of his         15        A. I believed it to be patently
16    role to provide information to TheBlaze?      16    false.
17        A. Mr. lglar's role was to pass           17        Q. And the basis of that belief was
18    along the e-mails to Glenn. Glenn, for        18    what?
19    reasons of privacy, did not maintain a        19        A. The information and evidence
20    private e-mail account.                       20    provided by multiple confidential sources.
21        Q. And Mr. lglar acted as, what,          21        Q. And the multiple confidential
22    somebody who sent along Mr. Beck's e-mails?   22    sources were the four sources you spoke
23        A. Typically, an e-mail that was          23    about earlier; correct?
24    sent to Mark lglar for Glenn resulted in      24        A. That's correct.
25    Mark handing his iPhone to Glenn so he        25        Q. And after this testimony was
                                         Page 162                                           Page 164
 1          JOEL CHEATWOOD                           1          JOEL CHEATWOOD
 2 could read it.                                    2 provided by Secretary Napolitano, did you
 3     Q. So your e-mail at Monday,                  3 go back to those sources to ask them about
 4 April 22nd at 9:49 p.m. to Mr. lglar was,         4 this?
 5 by sending it to Mr. lglar, you were              5     A. Absolutely. One of many, many,
 6 intending that it be received by Mr. Beck?        6 many times we went back to our confidential
 7     A. That's correct.                            7 sources to check the information the
 8     Q. Mr. Cheatwood, I show you what's           8 government was providing against the facts
 9 been previously marked in this matter as          9 of the case.
10 Exhibit 88, which is a transcript of a           10      Q. And what did the confidential
11 Congressional hearing before the Senate          11 sources say to you?
12 Judiciary Committee on April 23, 2013, and       12     A. They said the statement was
13 at the page numbered 11550-0013, which           13 patently false.
14 appears on the lower right-hand corner of        14      Q. And was that all four sources or
15 the document, Secretary Napolitano is asked      15 one?
16 a question by Senator Grassley:                  16     A. It, as I recall, was all four.
17         "With regard to the Saudi                17      Q. Did you have any of those
18 student, was he on a watch-list; and, if         18 conversations yourself?
19 so, how did he obtain a student Visa?"           19     A. I did not.
20         And Secretary Napolitano                 20      Q. Who had those conversations?
21 responds by saying:                              21     A. Joe Weasel.
22         "He was not on a watch-list.             22      Q. Did you have any understanding
23 What happened is, this student was --            23 or any belief as to why Secretary
24 really, when you back it -- he was in the        24 Napolitano would provide testimony that was
25 wrong place at the wrong time. He was            25 false?


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JOEL CHEATWOOD                                                                      March 24, 2016
ALHARBI vs. BECK                                                                          165-168
                                         Page 165                                            Page 167
              JOEL CHEATWOOD                         1             JOEL CHEATWOOD
 2       A. I couldn't tell you.                     2        Q. So in addition to the four
 3       Q. Mr. Cheatwood, I show you what's         3   primary confidential sources, there was a
 4   been previously marked as Exhibit 89 in         4   further confidential or fifth confidential
 5   this matter, which is an e-mail to Joe          5   source?
 6   Weasel, dated April 23rd at 6:52 a.m., from     6       A. There were actually several
 7   what appears to be -- do you know if this       7   other confidential sources that we relied
 8   was from one of your confidential sources?      8   on for context and perspective, primarily.
 9       A. I don't have direct knowledge of         9        Q. And when Mr. Weasel sent this to
10    that.                                         10    you, in which this source is saying "In
11        Q. Do you know who this was from?         11    all, two Saudis with no proven links to the
12        A. I do not.                              12    bombing.conspiracy," did you ever discuss
13        Q. And the person who is sending          13    that with him?
14    the e-mail to Mr. Weasel on Tuesday morning   14        A. Yes, I did.
15    at 6:52 a.m. says, in the next-to-last        15         Q. What discussion did you have
16    paragraph: "In all, two Saudis with no        16    with him?
17    proven links to the bombing conspiracy."      17            MR. GRYGIEL: Be clear which two
18           Did Mr. Weasel ever share that         18    Saudis we're talking about here. You can
19    information with you?                         19    answer with that --
20           MR. GRYGIEL: Just be clear that        20            THE WITNESS: Right.
21    you read the entire e-mail, Joel, before      21        A. The first thing we did is went
22    you answer that question.                     22    back to our primary confidential sources to
23        A. Okay. I've read it.                    23    check the information that had been
24           Can you repeat the question?           24    provided by this source.
25        Q. Sure. Let me do this. Let me           25            And, again, they were adamant in
                                         Page 166                                            Page 168
 1             JOEL CHEATWOOD                                      JOEL CHEATWOOD
 2   also show you Exhibit 90, which Exhibit 90     2    that the evidence that had been presented
 3   is forwarding that same e-mail to you at       3    and that was continuing to be presented to
 4   9:35 a.m. from Mr. Weasel.                     4    them linked Alharbi to the conspiracy.
 5           And Mr. Weasel forwards it             5            The two Saudis that were
 6   saying: "Absolutely don't forward. Can't       6    mentioned in the final -- the
 7   out his e-mail address or code name."          7    second-to-last paragraph did not include
 8           Did one of the confidential            8    Alharbi.
 9   sources have a code name?                      9        Q. And in the first paragraph,
10            MR. GRYGIEL: If you can answer        10    where it says that "Alharbi was not free to
11    without identifying the source.               11    leave custody until Wednesday at 5:35 p.m.,
12        A. I don't recall. I don't recall         12    when his record was changed and they
13    a code name.                                  13    rescinded the INA 212(a)(3)(B)(i)(ll),"
14        Q. Does this refresh your                 14    that information, that the 212(3)(B) status
15    recollection about whether the person who     15    had been rescinded, did you believe that to
16    sent the 6:52 a.m. e-mail was one of the      16    be accurate?
17    confidential sources?                         17            MR. GRYGIEL: Object to the
18        A. To the best of my recollection,        18    form.
19    this was not one of the primary               19       A. We knew, according to our
20    confidential sources.                         20    confidential sources, that at that point,
21        Q. So when you say "not one of the        21    on Wednesday, the record had been not only
22    primary," so that would have been one of      22    rescinded, but removed from circulation.
23    the four people that you testified about      23       Q. And did you ever report that?
24    earlier?                                      24       A. We did.
25        A. This was not one of the four.          25       Q. And when did you report that?



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JOEL CHEATWOOD                                                                     March 24, 2016
ALHARBI vs. BECK                                                                         169-172
                                         Page 169                                            Page 171
 1               JOEL CHEATWOOD                      1             JOEL CHEATWOOD
 2       A. I believe we reported it, to the         2           MR. GRYGIEL: Objection.
 3   best of my recollection, on Wednesday. It       3        A. We knew based on the information
 4   may have been Tuesday.                          4   provided to us by our confidential sources
 5       Q. And Wednesday, the 24th; or              5   that they were taking a risk that certainly
 6   Wednesday, the 17th?                            6   would have significant impact on their
 7       A. No. I'm sorry, it would have             7   lives. That was clear.
 8   been Wednesday, the week of the actual          8      . Q. Directing your attention to page
 9   bombing.                                        9   49 in the transcript, Bates stamp number
10        Q. So that Wednesday, by the week         10    509, there Mr. Beck is making reference to
11    of the actual bombing, you knew that Mr.      11    the event file, and says on line 5:
12   Alharbi had not been designated or did not     12            "What does this mean? That
13    remain as a person designated under           13    means this guy doesn't have one event.
14   212(a)(3)(B)?                                  14    When they opened this while he was at the
15             MR. GRYGIEL: Object to the           15    hospital, they found he's already in the
16   form.                                          16    system. He's already a 212(3)(8)."
17        A. We knew as of Wednesday that his       17            Was that something that your
18   file had been removed.                         18    confidential sources told you, that prior
19        Q. Here the source is saying that         19    to the Boston Marathon attacks on April 15,
20   the status had been rescinded.                 20    2013, Mr. Alharbi had already been
21             Did you regard that as meaning       21    classified under Section 212(3)(8)?
22   the file had been removed?                     22            MR. GRYGIEL: Object to the
23        A. We actually -- almost, as I            23    form.
24    recall, it was an act that happened in        24        A. Our confidential sources, and
25    succession.                                   25    based on the evidence they provided,
                                         Page 170                                            Page 172
 1              JOEL CHEATWOOD                       1          JOEL CHEATWOOD
 2           They rescinded the 212(a)(3)(B)         2 indicated that there was a ·prior event, to
 3   at the same time that his entire event file     3 the best of my knowledge. The nature of
 4   was removed from access to law enforcement.     4 the event was not specified.
 5           MR. HALEY: Off the record.              5     Q. If I could direct your attention
 6           (A recess was taken.)                   6 to the next tab, which is dated May 1,
 7   BY MR. HALEY:                                   7 2013, and specifically page 8, which bears
 8       Q. Mr. Cheatwood, if I can direct           8 the Bates stamp number 830.
 9   your attention again to the next tab in         9        On line 12, Mr. Beck says:
10    Exhibit 68, the transcript, and this is a     10         "Theblaze.com had record traffic
11    transcript from the program on April 24,      11 last month."
12    2013, and my question relates to page 10,     12         And goes on, on line 15, to say:
13    which has the Bates stamp number 470 on it.   13         "Last month, we had 14 million
14            On line 14, Mr. Beck says:            14 unique visitors and more than 115 million
15            "I will tell you that, you know,      15 page views."
16    we are working with some extraordinarily      16         Was that information accurate,
17    brave men and women in the federal law        17 as far as you know?
18    enforcement community, as well as the         18     A. I do not know.
19    federal government, that are risking not      19      Q. Do you have any reason to
20    only their livelihoods, but at this point,    20 believe it's inaccurate?
21    are risking their lives to bring this         21     A. I don't recall the specific
22    information to us."                           22 numbers. I really can't speak to its
23            Did you have any information          23 accuracy otherwise.
24    that people who were providing information    24      Q. And then on line 17 at page 12,
25    to you were risking their lives?              25 Bates stamp number 834, on line 17, Mr.


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JOEL CHEATWOOD                                                                      March 24, 2016
ALHARBI vs. BECK                                                                          173-176
                                         Page 173                                            Page 175
1               JOEL CHEATWOOD                      1              JOEL CHEATWOOD
2    Beck says: "If you remember, the person of     2    investigation progressed and as it
3    interest from Saudi Arabia in the Boston       3    developed organically, our confidential
4    Marathon bombing was Alharbi, completely       4    sources became completely convinced that
5    off the DHS radar screen."                     5    that had been his role.
6            And then he goes on, on page 13,       6        Q. And when you say "completely
7    at line 2, to say:                             7    convinced," at what point were they
8            "Nobody from the media cares           8    completely convinced, or did they
9    about this guy."                               9    communicate that to you?
10            And then he says at line 4:           10           MR. GRYGIEL: Object to the
11            "I don't know how this guy was        11    form.
12    involved, but he's involved."                 12        A. I don't know what date that they
13            On May 1st, was it accurate to        13    arrived at that. That was certainly their
14    say that TheBlaze did not know how Mr.        14    considered judgement going into this, once
15    Alharbi was involved in the Boston Marathon   15    the event occurred and once they
16    attacks?                                      16    established he had not actually triggered
17        A. No. Based on the information           17    the bombs themselves.
18    provided by our chief confidential source     18           But certainly I would say
19    and verified by the other confidential        19    between May 1st and May 8th, our chief
20    sources, the understanding was that he was    20    confidential source, who has a deep
21    involved with financing and organizing the    21    background in investigating terror cells -
22    Boston bombing.                               22    how they're created, how they're funded,
23        Q. Do you know why Mr. Beck is            23    how they're executed, has a deep background
24    saying: "I don't know how he's involved"?     24    since 2009 in ISB and the operations of
25        A. I do not.                              25    that organization, its links to terror --
                                         Page 174                                            Page 176
 1             JOEL CHEATWOOD                        1           JOEL CHEATWOOD
 2       Q. Do you know why up until this            2 became absolutely convinced that that was
 3   point, May 1, 2013, there's never any           3 the role.
 4   reference to Mr. Alharbi's role in funding      4    Q. Did you know if he ever
 5   the attacks?                                    5 communicated that to anyone else?
 6           MR. GRYGIEL: Objection to the           6    A. I have no idea.
 7   question.                                       7    Q. Are you aware of why the
 8       A. I don't understand the question.         8 government wouldn't have pursued Mr.
 9       Q. So from the date of the event,           9 Alharbi if he had been the person who
10    April 15, 2013, to May 1, 2013, shortly       10 funded the attacks?
11    thereafter, your testimony was based on       11     A. You would have to ask them.
12    your confidential sources, you determined     12     Q. Did you ever ask them?
13    that Mr. Alharbi had a role in funding the    13     A. Hundreds and hundreds of times.
14    attacks.                                      14     Q. And what was their response?
15           My question is: Why is there no        15     A. Typically, no response.
16    reference to his role as a funder of the      16     Q. If I could direct your attention
17    attacks between April 15th and May 1, 2013?   17 to the transcript of broadcast May 8, 2013,
18           MR. GRYGIEL: Object to the             18 and page 21.
19    form.                                         19         During this period, May 1st to
20        A. At that point, for the period          20 May 8, 2013, was there continuing
21    leading up to May 1st, it seemed more         21 communication with the confidential
22    important to us to establish his              22 sources?
23    involvement.                                  23     A. Continuous, yes.
24           It was less of a concern as to         24     Q. And who was having that
25    what specific role he played, but as the      25 communication?


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JOEL CHEATWOOD                                                                      March 24, 2016
ALHARBI vs. BECK                                                                          177-180
                                         Page 177                                            Page 179
                JOEL CHEATWOOD                      1              JOEL CHEATWOOD
 2       A. Joe Weasel.                             2    to work that angle of the investigation.
 3       Q. And what form did the                   3            And, again, based on his deep
 4   communication take: E-mail, meetings in        4    knowledge of ISB and terrorism and
 5   person, phone? Do you know?                    5    terrorism cells specifically in that area,
 6       A. You would have to ask Joe what          6    combined with the evidence that he had
 7   the specific connection was.                   7    complete access to, had absolutely without
 8           I would -- to the best of my           8    a shadow of a doubt come to that
 9   recollection, phone.                           9    conclusion.
10        Q. And is this a story that you           10        Q. And was there a meeting on the
11    were still pursuing in this period, May 1st   11    morning of May 8th and the afternoon of
12    to May 8th?                                   12    May 8th to discuss the program?
13       A. Absolutely.                             13       A. I don't have a specific
14       Q. Was there a particular                  14    recollection. I would assume there was.
15    communication between May 1st and May 8th     15        Q. And was the Boston Marathon
16    that changed the story or changed the         16    attack to be a subject of the program on
17    reporting?                                    17    that day?
18            MR. GRYGIEL: Object to the            18       A. I believe it was.
19    form. There's been no foundation that any     19        Q. And other than this reference,
20    reporting has been changed.                   20    how come there are no remarks or statements
21       A. I would agree.                          21    about the attack?
22            I don't think that the nature of      22            MR. GRYGIEL: Objection.
23    the reporting changed at all.                 23       A. Remarks or statements where?
24       Q. Well, on May 1, 2013, Mr. Beck          24        Q. Well, so the program that day
25    states: "I don't know how Mr. Alharbi was     25    seems to be focused on what's going on in
                                         Page 178                                            Page 180
               JOEL CHEATWOOD                        1              JOEL CHEATWOOD
 2   involved."                                      2   Cleveland or what's going on someplace
 3           Correct?                                3   else. There really isn't a focus on the
 4       A. According to the transcript.             4   Boston Marathon attack.
 5       Q. Do you have some reason to               5           This seems to come up as a
 6   believe the transcript is inaccurate?           6   sideline issue, reviewing the transcript.
 7       A. I can't verify it myself, but I          7           MR. GRYGIEL: Objection.
 8   would assume it's accurate.                     8           You can answer the question if
 9       Q. And so then, on May 8th, on page         9   you understand it.
10    21 of the Exhibit 68, Mr. Beck states at      10       A. Not being involved in the
11    line 21:                                      11    production of the radio program, I don't
12            "You have the Saudi that they         12    know why the choice was made.
13    know in advance, and you know who the Saudi   13       Q. On page 22 of the transcript,
14    is? The money man. That's who the Saudi       14    Mr. Burguiere asked Mr. Beck:
15    is. He's the guy who actually paid for it.    15            "I mean, is this -- is this
16    He's the money man."                          16    speculation or are you reporting something
17            So was there something between        17    or somewhere in between? Is that what
18    May 1st and May 8th that you're aware of      18    we're learning?"
19    that would have changed Mr. Beck's            19           Was that an unusual question for
20    reporting or statements on this?              20    Mr. Burguiere to ask?
21            MR. GRYGIEL: Object to the            21       A. No. It's in keeping with the
22    form.                                         22    nature of their relationship, the roles
23        A. To the best of my recollection,        23   that they play on the radio show, and
24    there were multiple conversations with our    24    Steve, or "Stu," as he's more commonly
25    chief confidential source who had continued   25    known as, is always the sort of person who


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JOEL CHEATWOOD                                                                    March 24, 2016
ALHARBI vs. BECK                                                                        181-184
                                       Page 181                                            Page 183
 1           JOEL CHEATWOOD                        1           JOEL CHEATWOOD
 2 asks the questions and forces Glenn to          2     A. We felt this was a story of
 3 answer.                                         3 great public interest.
 4    Q. Your meeting with the primary             4     Q. Did you receive reports of
 5 confidential source in May in D.C., was         5 income and revenues on TheBlaze?
 6 that before or after May 8th?                   6     A. I was copied on some. Not all.
 7        MR. GRYGIEL: Objection to the            7     Q. Mr. Cheatwood, I show you what's
 8 question. Can I have it read pack.              8 been previously marked as Exhibit 100 in
 9        (Requested portion of record             9 this matter, and it is an e-mail attaching
10 read.)                                         10 what's referred to as an April SEO report.
11         MR. GRYGIEL: The only thing I          11         Have you seen this before?
12 object to, Peter, just so the record is        12     A. I have not.
13 clear, I don't think Mr. Cheatwood             13      Q. Do you know what this is?
14 characterized the source he met with as the    14     A. I do not.
15 primary confidential source, as you've been    15               (Exhibit 113 for
16 using the term throughout the deposition.      16 identification, E-mail from Mr. Creter to
17         MR. HALEY: Okay. Fair enough.          17 Mr. Cheatwood, production numbers 35052.)
18 BY MR. HALEY:                                  18 BY MR. HALEY:
19     Q. So your meeting with the source         19     Q. Mr. Cheatwood, I show you what's
20 in D.C. in May, was that before or after       20 been marked as Exhibit 113, which is an
21 May 8th?                                       21 e-mail bearing the Bates stamp number
22     A. I believe it was after May 8th.         22 35052.
23     Q. Mr. Cheatwood, I show you what's        23         It's an e-mail to you from Mr.
24 been marked as Exhibit 96 in this matter,      24 Creter at the Gavin de Becker agency.
25 which is an e-mail from Sara Johnson to        25         It says that: "We have received
                                       Page 182                                            Page 184
 1              JOEL CHEATWOOD                     1             JOEL CHEATWOOD
 2   Glen Hall.                                    2   the below request for further information
 3           Have you seen this before?            3   regarding Abdul Rahman Ali Alharbi."
 4       A. Yes.                                   4           And then it says:
 5       Q. And it says there that:                5           "We are not aware of or able to
 6           "Mr. Beck is going to be pushing      6   confirm anything related to Abdul Rahman
 7   212(3)(B) to help spread this story on        7   Ali Alharbi."
 8   social. Would you mind asking the editors     8           Is this a request that was made
 9   to use hashtags and Tweets about the doc      9   by you to the de Becker agency?
10    and related stories."                       10        A. Yes.
11            And then in the e-mail at the       11        Q. And other than your request to
12    top of the page, she changes that to:       12    the de Becker agency, did you use any other
13            "Glenn Beck would like to use       13    outside sources to try and develop
14    the hashtag Blaze 212(3)(B) instead."       14    information on Mr. Alharbi?
15            Is this something that you were     15        A. We used confidential sources,
16    involved with at all?                       16    yes.
17       A. I was made aware of it. I was         17        Q. And those are the confidential
18    not directly involved.                      18    sources that you've testified to
19        Q. And was spreading the story on       19    previously; is that correct?
20    social media something that was important   20        A. That's correct.
21    to TheBlaze?                                21        Q. Was there anyone else that you
22       A. It was important from the             22    used? Did you employ any law firms or any
23    context of trying to generate basically a   23    other investigative agencies?
24    broader exposure to the story.              24        A. We did not.
25        Q. And why was that important?          25        Q. And the cc here on Thursday,



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JOEL CHEATWOOD                                                                      March 24, 2016
ALHARBI vs. BECK                                                                          185-188
                                         Page 185                                            Page 187
 1             JOEL CHEATWOOD                                         JOEL CHEATWOOD
 2   April 25th to Mark lglar, or, more              2   e-mail messages.
 3   importantly, your message at the bottom .of     3             On the second page is an e-mail
 4   the page at 7:43 a.m., that was a message       4   from Mr. Joe Strupp at Media Matters to
 5   that was intended to be directed to Mr.         5   Virginia Grace asking about an e-mail that
 6   Beck?                                           6   starts at the bottom of the second page,
 7       A. No. This was directed to Mark            7   1136, and goes over to the second page --
 8   lglar, who was the chief agent for Gavin de     8   or the third page, rather, 1137.
 9   Becker attached to Glenn's security detail.     9             It appears to be directed to
10        Q. So why is the subject: "For            10    members of Congress.
11    GB"?                                          11              Is this an e-mail that TheBlaze
12        A. This was, as I recall, resulting       12    sent out?
13    in a conversation that I had had with         13              MR. GRYGIEL: Which e-mail are
14    Glenn, where he suggested that Gavin de       14    we talking about?
15    Becker's organization might be able to        15              MR. HALEY: The e-mail in
16    develop information on Mr. Alharbi in Saudi   16    italics.
17    Arabia.                                       17    BY MR. HALEY:
18        Q. Mr. Cheatwood, I show you what's       18         Q. So Mr. Strupp writes:
19    previously been marked as Exhibit 101,        19              "I'm a reporter working on a
20    which is a message from Joe Weasel to         20    potential story on this e-mail (below) you
21    Patrick Poole.                                21    sent to most members of Congress related to
22           .And Mr. Poole, in the first           22    the Boston Marathon bombing."
23    e-mail message at 11 :10 a.m., is stating     23              And my question to you, Mr.
24    that: "Somebody is calling in this week       24    Cheatwood, is: Did TheBlaze send out this
25    and he's meeting -- he will have his union    25    e-mail in italics to most members of
                                         Page 186                                            Page 188
 1              JOEL CHEATWOOD                       1              JOEL CHEATWOOD
 2   rep with him."                                  2   Congress?
 3            Was this person one of your            3        A. Can I take a moment to read
 4   confidential sources?                           4   this?
 5            MR. GRYGIEL: Object to the             5        Q. Of course.
 6   extent, if answering this question, Joel,       6        A. Yes, I believe this was
 7   would provide information that could lead       7   generated by TheBlaze.
 8   to disclosure of the source's identity, if      8        Q. What was the purpose of the
 9   it's a situation where you would want to        9   e-mail?
10    invoke the First Amendment Reporter's         10             MR. GRYGIEL: Just so we're
11    Privilege, if you know.                       11    clear on the record, when you say
12        A. I have no direct knowledge of          12    "TheBlaze" in that sentence, who are you
13    who he was speaking about.                    13    referring to?
14        Q. Do you know why Mr. Weasel is          14        A. This, I believe, was generated
15    writing to Mr. Poole at the top of the        15    -- this actually, I believe, was composed
16    page: "Maybe in the end this will be a        16    and sent by a producer on Glenn's program,
17    good thing"?                                  17    Glenn Beck's program.
18        A. I do not.                              18        Q. Who was the producer?
19                  (Exhibit 114 for                19        A. Virginia Grace.
20    identification, Series of e-mail messages,    20        Q. And what was the purpose, if you
21    including e-mail from Mr. Joe Strupp to       21    know, in sending it out?
22    Virginia Grace.)                              22        A. This was a result of I think
23    BY MR. HALEY:                                 23    overall frustration at the stonewalling and
24        Q. Mr. Cheatwood, I show you what's       24    disinformation that was being -- really the
25    marked as Exhibit 114, which is a series of   25    norm in dealing with government agencies,

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JOEL CHEATWOOD                                                                      March 24, 2016
ALHARBI vs. BECK                                                                          189-192
                                         Page 189                                            Page 191
 1              JOEL CHEATWOOD                       1              JOEL CHEATWOOD
 2   trying to get information and confirmation      2       A. Not in the sense of the validity
 3   on this case.                                   3   of the information.
 4           The decision was made to reach          4           As a journalist, you always want
 5   out to members of Congress to see if they       5   someone to step forward, if at all
 6   would, in fact, demand action on the part       6   possible, and reveal themselves with the
 7   of Janet Napolitano in releasing                7   information. This was not possible in this
 8   information and addressing the questions        8   case and we understood that. Never doubted
 9   that we had been raising as a news              9   the validity of the information.
10    organization.                                 10        Q. And with respect to the
11        Q. And on the first page of the           11    verifying the information that was provided
12    exhibit, there's an e-mail from Josh          12    by the confidential sources, you had the
13    Raffel.                                       13    two documents that we reviewed, Exhibit 60
14            Who is Mr. Raffel?                    14    and 61, and the information provided to you
15        A. At that time, Josh Raffel was a        15    by the confidential sources; is that
16    media relations person employed by an         16    correct?
17    outside agency.                               17            MR. GRYGIEL: Objection.
18        Q. And that was HS Strategies or --       18            I think that seriously
19        A. Yes.                                   19    mischaracterizes the testimony, Peter, but
20        Q. And and Mr. Raffel in his e-mail       20    you may answer.
21    of April 25th, 3:32 p.m.: "Can we find the    21       A. We literally had hundreds of
22    leak?"                                        22    hours of conversation with multiple
23            Do you know what he's referring       23    conversational sources that supported the
24    to there?                                     24    facts that we presented.
25        A. I believe he's referring to the        25        Q. And those sources were the
                                         Page 190                                            Page 192
 1                JOEL CHEATWOOD                     1               JOEL CHEATWOOD
 2   person or individual who might have given       2   confidential sources?
 3   this to the Media Matters reporter.             3       A. Primarily the confidential
 4            MR. HALEY: I don't think I have        4   sources, but also experts in the area that
 5   too much more.                                  5   we relied upon for perspective, context,
 6            I'll take a few minutes to look        6   confirmation, that aided in our painting
 7   at my notes, make sure I don't have             7   the full picture.
 8   anything else, and I'll get you guys out of     8       Q. And those were the experts that
 9   here.                                           9   you testified about earlier; is that
10             (A recess was taken.)                10    correct?
11    BY MR. HALEY:                                 11        A. That's correct.
12        Q. Mr. Cheatwood, with respect to         12            MR. HALEY: I don't have any
13    the story about Mr. Alharbi's funding the     13    further questions.
14    Boston Marathon attacks, is it fair to say    14            I'll suspend to the extent the
15    that TheBlaze was unsuccessful in ever        15    Court may order the confidential sources
16    getting a source to publicly go on the        16    disclosed, I'll reserve the right to
17    record to verify that story?                  17    question Mr. Cheatwood about those sources
18             MR. GRYGIEL: Object to the           18    at that time.
19    form.                                         19            MR. GRYGIEL: And of course we
20       A. The information came from               20    will oppose any such effort to disclose the
21    confidential sources. They did not            21    identity of the sources.
22    publicly go on the record.                    22            One thing we ought to talk
23        Q. And was that a concern to you,         23    about, Peter, is a 30(b )(6) for Premiere.
24    that you couldn't get anyone to publicly go   24            Do you still intend to do that?
25    on the record?                                25            MR. HALEY: Can we go off the

                                                                            800.211.DEPO (3376)
                                                                            EsquireSolutions. com
JOEL CHEATWOOD                                                                                     March 24, 2016
ALHARBI vs. BECK                                                                                         193-196
                                                    Page 193                                                    Page 195
                                                                1                     I N D E X
 1          JOEL CHEATWOOD                                      2
 2 record on it?                                                3
 3        MR. GRYGIEL: Sure.                                    4   WITNESS          EXAMINED BY         PAGE
 4        (Time noted: 2:48 p.m.)                               5   JOEL CHEATWOOD   Mr. Haley           4

 5                                                              7   ----------- INFORMATION REQUESTS ---------
                 JOEL CHEATWOOD                                 8   DIRECTIONS:
 6                                                              9   RULINGS:
   Subscribed and sworn to before me                           10   TO BE FURNISHED:
                                                               11   REQUESTS:
 7 this _ _ day of _ _ , 2016.                                 12   MOTIONS:
                                                               13                 E X H I B I T S
 8                                                             14   NO.                                PAGE
 9                                                             15
                                                               16     (Exhibit 107 for identification,   45
10                                                                   Two-page document, Series of
11                                                             17    e-mail messages, including e-mail
12                                                                   dated 4/19 from Mr. Cheatwood to
13                                                             18    Mr. Weasel, production numbers
                                                                     35109 through 35110.)
14                                                             19     (Exhibit 108 for identification,   49
15                                                                   E-mail from Ms. Grace to Mr.
16                                                             20    CUlligan, production numbers
17                                                                   35124.)
                                                               21     (Exhibit 109 for identification,   99
18                                                                   E-mail dated 4/20 from Mr.
19                                                             22    Cheatwood to Mr. Weasel,
20                                                                   production numbers 35131.)
21                                                             23     (Exhibit 110 for identification,   131
                                                                     Series of e-mail messages,
22                                                             24    including e-mail from Mr.
23                                                                   Cheatwood to Messrs. Weasel, Hall
24                                                             25    & Baker, production numbers 35260
25                                                                   through 35261.)

                                                    Page 194                                                    Page 196
 1                  C E R T I F I C A T E                       1     (Exhibit 111 for identification,   139
 2
                                                                     Series of e-mail messages,
                                                                2    including e-mail from Mr. Baker
            I, Linda J. Greenstein, Professional
                                                                     to Mr. Cheatwood, cc to Messrs.
 4   Shorthand Reporter and Notary Public in and                     Hall & Weasel, production numbers
 5   for the State of New York, do hereby                            36227 through 36228.)
                                                                4     (Exhibit 112 for identification,   160
 6   certify that, JOEL CHEATWOOD, the witness
                                                                     E-mail from Mr. Iglar to Mr.
 7   whose deposition is hereinbefore set forth,                5    Cheatwood.)
 8   was duly sworn and that such deposition is                       (Exhibit 113 for identification,   183
                                                                6    E-mail from Mr. Creter to Mr.
 9   a true record of the testimony given by the
                                                                     Cheatwood, production numbers
10   witness to the best of my skill and                        7    35052.)
11   ability.                                                         (Exhibit 114 for identification,   186
                                                                     Series of e-mail messages,
12          I   further certify that I am neither
                                                                     including e-mail from Mr. Joe
13   related to or employed by any of the                       9    Strupp to Virginia Grace.)
14   parties in or counsel to this action, nor                 10   (Exhibits retained by counsel)
                                                               11
15   am I       financially interested in the outcome
                                                               12
16   of this action.                                           13
17          IN WITNESS WHEREOF, I have hereunto set            14
18   my hand this 28th day of March 2016.                      15
                                                               16
19                                                             17
20                                                             18
21                            Linda J. Greenstein              19
                                                               20
22
                                                               21
23   My commission expires:         May 17, 2018               22
24                                                             23
                                                               24
25
                                                               25



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                                                                                        EsquireSo/utions. com
JOEL CHEATWOOD                                                                                   March 24, 2016
ALHARBI vs. BECK                                                                                       197-199
                                                  Page 197                                                  Page 199
 1                 DEPOSITION ERRATA SHEET                    1                 DEPOSITION ERRATA SHEET
 2                                                            2   Page No. _ _Line No. _ _Change to: _ _ _ __


 4   Our Assignment No.:      326058                          4   Reason for change: _ _ _ _ _ _ _ _ _ _ _ __
 5   Case Caption:      Alharbi v. Glenn Beck, et                 Page No. _ _Line   No._~Change    to: _ _ _ __
                                                              5
 6   al.
                                                              6
 7
                                                              7   Reason for change: _ _ _ _ _ _ _ _ _ _ _ __
           DECLARATION UNDER PENALTY OF PERJURY
                                                                  Page No.      Line No. _ _ Change to: _ _ _ __
 9
                                                              9
10                 I declare under penalty of
                                                             10   Reason for change: _ _ _ _ _ _ _ _ _ _ _ __
11   perjury that I have read the entire
12   transcript of my Deposition taken in the                11   Page No. _ _Line No. _ _ Change to: _ _ _ __

13   captioned matter or the same has been read              12
14   to me, and the same is true and accurate,               13   Reason for change: _ _ _ _ _ _ _ _ _ _ _ __
15   save and except for changes and/or                      14   Page No. _ _Line No. _ _ Change to: _ _ _ __
16   corrections, if any, as indicated by me on              15
17   the DEPOSITION ERRATA SHEET hereof, with                16   Reason for change: _ _ _ _ _ _ _ _ _ _ _ __
18   the understanding that I offer these                    17   Page No. _ _Line   No._~Change    to: _ _ _ __
19   changes as if still under oath.
                                                             18
20
                                                             19   Reason for change: _ _ _ _ _ _ _ _ _ _ _ __
21                               JOEL CHEATWOOD
                                                             20   Page No. _ _Line No. _ _ Change to: _ _ _ __
22   Subscribed and sworn to on the          day of
                                                             21
23   - - - - - - ' 20         before me.
                                                             22   Reason for change: _ _ _ _ _ _ _ _ _ _ _ __
24
     Notary Public,                                          23
                                                             24   SIGNATURE:
25   in and for the State of                                                   -----------DATE: -----
                                                             25                 JOEL CHEATWOOD

                                                  Page 198
 1                 DEPOSITION ERRATA SHEET
 2   Page No. _ _Line No. _ _ Change to: _ _ _ __


 4   Reason for change: _ _ _ _ _ _ _ _ _ _ _ __
     Page No.      Line No.      Change to: _ _ _ __
 6
 7   Reason for change: _ _ _ _ _ _ _ _ _ _ _ __
     Page No. _ _Line No. _ _ Change to: _ _ _ __
 9
10   Reason for change: _ _ _ _ _ _ _ _ _ _ _ __
11   Page No.      Line No. _ _ Change to: _ _ _ __
12
13   Reason for change: _ _ _ _ _ _ _ _ _ _ _ __
14   Page No. _ _Line No. _ _ Change to: _ _ _ __
15
16   Reason for change: _ _ _ _ _ _ _ _ _ _ _ __
17   Page No. _ _Line No. _ _ Change to: _ _ _ __
18
19   Reason for change: _ _ _ _ _ _ _ _ _ _ _ __
20   Page No.      Line No. _ _ Change to: _ _ _ __
21
22   Reason for change: _ _ _ _ _ _ _ _ _ _ _ _~

23   Page No. _ _Line No. _ _ Change to: _ _ _ __
24
25   Reason for change: _ _ _ _ _ _ _ _ _ _ _ __



                                                                                        800.211.DEPO (3376)
                                                                                        EsquireSo/utions.com
CHEATWOOD DECLARATION - EXHIBIT 2
   ____________ __ ____________________________
                         ......,    ....,                                                 ~
                                                                                                  EXHIBIT
   From:
   Sent:
                                   Weasel, Joe
                                   Saturday, April 20, 2013 04:58 PM
                                                                                          I ., \
                                                                                          ~

                                                                                          ~'
   To:                             Cheatwood, Joel
   Subject:                        Re: just to be safe                                         c;:_   d\   r-il I c.,
   I will get it

   Joe Weasel
   Sent from my iPhone

   On Apr 20, 2013, at 4:57 PM, "Cheatwood, Joel"          <W                        i>   wrote:

           if possible need as much detail as we can get on classifying someone 3B. I'd like to show it's not
           something you would likely do and then say oops we screwed up. the more detail on the process
           we can reveal w/o getting . i n trouble the better we'll be. Need credibility.
           On Apr 20, 2013, at 4:54 PM, Weasel, Joe wrote:


           We will need a few other items - when I get mltimeline I will forward

           Joe Weasel
           Sent from my iPhone

           On Apr 20, 2013, at 4:48 PM, "Cheatwood, Joel"                                             wrote:

                   Agree that's why I've been asking for the info so I can craft a narrative. Based on
                   what we know right now (and I'm hoping we know more before Monday) I think
                   the story is ...

                   Who is Abdul Rahman Ali Alharbi?
                   Where is he?
                   Why did the FBI consider him a suspect in the first place - is it true that, as law
                   enforcement sources said, he was arrested due to suspicious activity after the
                   bombings; was heard to say "i thought there was a second bomb" when arrested.
                   Why did they raid his apartment and remove items?
                   Why did he go from suspect to person of interest to nothing but a victim of the
                   bombing within 24 hours
                   Why was an event file created that ordered his deportation based on terrorist
                   activity- code 3B with the added verbiage "linked to Boston bombing" - even as
                   the FBI was telling the media he was not in any way connected to the bombing.
                   Explain how difficult it is to justify that classification - must have evidence/proof;
                   not easily attained and rarely given.
                   Why was the file abruptly altered 24 hours after it was created ... remember, a 3B
                   designation is nearly impossible to get.
                   Why did the President have a chance meeting with the Saudi Prince?
                   Why did ICE claim there was another Saudi student about to be deported not Ali
                   Aharbi?
                   Why did Janet Napalitano call reports of the deportation order patently false?




Confidential                                                                                                            DEF-035534
               Why did multiple media sources, veteran reporters with multiple sources report
               the FBI had identified a dark skin male and in fact had him in custody and he was
               scheduled to appear in federal court before a mysterious bomb threat there and a
               cancellation of the news conference expected to announce the arrest?

               This is kind of where I'm headed right now ... not necessarily in that order but
               really posing questions without drawing the conclusions. Letting the audience do
               that. Need to look at the column in investor.com again to see if the chance
               meeting Obama had was with the same Saudi Prince that helped get the families
               of the 9/11 hijackers out of the country.

               thoughts?


               On Apr 20, 2013, at 4:36 PM, Weasel, Joe wrote:


               I think it would be wise to keep the stuff Glenn mentions on air tightly scripted. I have a few
               concerns ... one, that they will claim this was a police investigation. I want to make sure I get
               . t o look over what we're going to say on air.

               For every serve we make they are ready to return. • i s very good at knowing their next
               move.

               The one thing that did happen is Congress is taking action and Glenn said if they didn't he
               was going to let it all out. I say we pound the question: where is he? Did he help identify the
               two subjects? Did he cut a deal?

               We know the file was changed ... I suggest we use that, too. I think stating dates and times
               helps us.

               But, let's review it together before he goes public ... I really think that would be wise.

               Joe Weasel
               Senior Producer
               The Blaze Documentary & Films




Confidential                                                                                                       DEF-035535
CHEATWOOD DECLARATION - EXHIBIT 3
   From:                        lglar, Mark <                         >
   Sent:                        Monday, April 22, 201310:58 PM
   To:                          Cheatwood, Joel; Siegel, Tiffany
   Cc:                          Weasel, Joe
   Subject:                     Re: Questions


   Got it.



   Emergencies:
   Email ·is not a reliable method for co.mmunicating emergency needs. Senders cannot be certain every email
   has been send by their server, nor that it has been received by the addressee, nor that it will be seen within
   the time needed or expected. If you have an emergency matter, it is always wise to make initial contact by
   telephone.

  Confidentiality:
  This email, like all GDBA communication, is privileged and confidential. If you are not the addressee or
  responsible for delivery of the message to the addressee, please notify us immediately, and then delete this
  email.


   From: Cheatwood, Joel
   Sent: Monday, April 22, 2013 9:49 PM
   To: Iglar, Mark; Siegel, Tiffany
   Cc: Weasel, Joe
   Subject: Questions


  Recommended questions for tomorrow.

   1) We've had multiple sources confirm that an event file was created by the NTC accusing Abdul Rahman Ali
  Al-Harbi of being involved in terrorist activities related to the Boston bombing. That file was created Tuesday,
  the day after the bombing, at 4pm. Since then, according to the various agencies investigating the bombing, Al-
  Harbi has gone from suspect in custody, to material witness, to witness, to victim. His association with the NTC
  report has been explained at various times by the FBI, ICE, and DHS as a completely false accusation, a case of
  mistaken identity, to finally yesterday the DHS calling it basically a rush to judgement on the part of the FBI in
  the chaos that followed the bombing. They admitted he ~as placed on the "no fly" list for a tiine but said that
  was the FBI's mistake. In fact, the DHS is apparently so confident the FBI made a mistake in originally thinking
  he was a suspect that they told TheBlaze yesterday that they didn't even know where Al-Harbi was anymore.
  They did tell us that they WERE deporting a Saudi national. A poor schmuck they say was at the port of Boston
  just after the bombing buying dates. He too was detained and they found out his visa had expired so they're
  sending him home. By the way they had no explanation why Al-Harbi had originally been given the worst
  designation possible on a deportation form - section 212, 3B ... terrorism. They're treating it as if that file doesn't
  exist but we know it does.

   2) We'd like to ask the FBI what it was they found in their nine hour search of Abdul Rahman Ali-Harbi's
   apartment or at the scene of the bombing that led them to ask for and get the section 212, 3B - terrorist activities
   designation. Every expert in the field we v~ talked to has said that it's a charge nearly impossible to get
                                              1



   approved and yet they somehow did ... and then 24 hours later. .. after two visits to the White House by Saudi
   ministers ... the order was rescinded. Mr. Muller can you explain how this all happened? The House Committee
                                                              1




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   on Homeland Security would like to know and I'm sure the American public would as well.

   3) On Friday a source at .who refused to be named told TheBlaze and other media outlets that our reporting
   was a clear cut case of mistaken identity, that there were two Saudi nationals that had been in custody by the
   same or similar name. That the Abdul Rahman Ali Al-Harbi that had been held in custody in the hospital
   following the bombing ... the one we reported had the event file declaring him a terrorist just wasn't the right
   Abdul Rahman Ali Al-Harbi. There was another, not connected with the Boston bombing, and he was the on~
   being deported. Yesterday ~old TheBlaze, no it wasn't mistaken identity ... it was just an overall mistake by
   the FBI. Which is it?

   4) When asked why Al-Harbi was in Boston when his Visa was issued for attendance at a school in Ohio, DHS
   initially said again there were two Abdul Rahman Ali Al-Harbi's ... one in Findlay, Ohio and one in Boston.
   Yesterday they told us, no there's only one but he transferred from the Ohio school to one in Boston. No harm,
   no foul. The University of Findlay, by the way, has no record of a transfer.

   A few other questions:

   5) Who are the other two men that are living in the Revere, Massachussetts apartment occupied by Al-Harbi and
   do they have a legal right to be in this country? Might be worth a check INS.

   6) Back to the FBI. .. did the recent decision to purge the manuals of sections dealing with islamic extremism
   and the resulting change in investigative technique have anything to do with not being able to track the two
   young men accused of the Boston bombings ... even after you were warned by Russia to keep an eye?

   7) DHS Secretary Janet Napolitano why are you refusing to give even a classified briefing about the Saudi
   national or nationals or lack thereof who were going to be or are being deported to the House Committee on
   Homeland Security? Wouldn't it just be easier to set the record straight? What have you got to hide?.


   So to the FBI, ICE, and DHS ... maybe you should get together, get your stories straight, and try again because I
   think you can understand why the American public might be a little confused.




                                                           2




Confidential                                                                                              DEF-035304
CHEATWOOD DECLARATION - EXHIBIT 4
               EXHIBIT

               Coo




                         DEF-047610
Confidential
Confidential   DEF-047611
               DEF-047612
Confidential
Confidential   DEF~047613
CHEATWOOD DECLARATION - EXHIBIT 5
               EXHIBIT



                .1/n/t~




                          OEF-047614

Confidential
CHEATWOOD DECLARATION - EXHIBIT 6
  From:                            Cheatwood, Joel
  Sent:                            Monday, April 22, 2013 6:53 PM
  To:                              Weasel, Joe
  Subject:                         Fwd: Real News



  See below

   Sent from my iPhone

  Begin forwarded message:

          From: "Beck, Glenn"
          Date: April 22, 2013, 6:45:49 PM EDT
          To: "Cheatwood, Joel"
          Subject: Re: Real News

          Twitter is saying that Brett says he has docs that shows mistaken identity on our part. Did not
          show docs!



          Glenn Beck
          New York City - Dallas - Salt Lake
          MERCURY RADIO ARTS
          THE BLAZE
          AMERICAN DREAM LABS
          1791.COM
          MERCURY ONE


          On Apr 22, 2013, at 5:37 PM, "Cheatwood, Joel"                                   wrote:


          Good segment on the story. Congressman Perry, also on the Homeland Security Committee is
          pissed. Says we've asked specific questions about this individual and can't get a response from
          Janet Napolitano. Was asked about the Findlay, Ohio portion of the story and said that is one of
          the many questions we've asked without any response. Buck led block and laid out the story then
          to the Congressman.


                 Joel




Confidential                                                                                                DEF-035281
